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                             IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

    ALIANZA AMERICAS, YANET DOE, PABLO
    DOE, and JESUS DOE, on behalf of themselves and
    all others similarly situated,

                                      Plaintiffs,

                             v.                                              Civil Action No.
                                                                             22-11550-ADB
    RONALD D. DESANTIS, Governor of Florida, in
    his official and personal capacities; JARED W.
    PERDUE, Secretary of the Florida Department of
    Transportation, in his official and personal capacities;                 JURY TRIAL DEMANDED
    LAWRENCE A. KEEFE, Florida Public Safety Czar,
    in his official and personal capacities; JAMES
    UTHMEIER, Chief of Staff to Florida Governor, in
    his official and personal capacities; STATE OF
    FLORIDA; THE FLORIDA DEPARTMENT OF
    TRANSPORTATION; JAMES MONTGOMERIE;
    PERLA HUERTA; and VERTOL SYSTEMS
    COMPANY, INC.,

                                        Defendants.


                          FIRST AMENDED CLASS ACTION COMPLAINT

                                               INTRODUCTION

           1.      On September 14, 2022, Plaintiffs Yanet Doe, Pablo Doe, and Jesus Doe

(collectively, “Individual Plaintiffs”) and approximately 46 other lawfully present immigrants

(together with Individual Plaintiffs, the “Immigrant Class” or “Class Plaintiffs”) were lured onto

two privately chartered planes in San Antonio, Texas, believing that they were headed to a large

city in the Northeast where jobs, housing, and legal assistance would be waiting for them.1 Class

Plaintiffs, all of whom were authorized to remain in the United States pending resolution of their


1
    The Individual Plaintiffs are proceeding under pseudonym with permission of the Court. See Docket No. 7.
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immigration proceedings, were recent immigrants to the United States who had escaped violent

and unstable conditions in their home countries and endured arduous voyages to this country.

Defendant Perla Huerta, with the connivance of the other Defendants, gained Class Plaintiffs’ trust

by posing as a Good Samaritan working on behalf of an anonymous wealthy benefactor and

offering Class Plaintiffs food and shelter. She promised Class Plaintiffs that they would be

provided employment, housing, educational opportunities, and other assistance in a large city in

the Northeast.

       2.        Those promises were false. Instead of arriving in a large city like Boston, the two

planes touched down on Martha’s Vineyard, a small island off the coast of Massachusetts. And

instead of being welcomed with job offers and resources, Class Plaintiffs found that no one on

Martha’s Vineyard was expecting them or was even aware that they were coming.

       3.        Defendants had concealed the true purpose of the flights from Class Plaintiffs. Far

from providing the humanitarian assistance they promised, Defendants Ronald DeSantis,

Governor of Florida; Jared Perdue, Florida Secretary of Transportation; Lawrence Keefe, Florida’s

“Public Safety Czar”; James Uthmeier, Defendant DeSantis’s Chief of Staff; James Montgomerie,

President of Vertol Systems Company, Inc. (“Vertol”); Huerta; and Vertol conspired to dupe Class

Plaintiffs into participating in a political stunt.    Defendants arranged to send unsuspecting

immigrants north to so-called “sanctuary” jurisdictions. The object of this scheme was not to help

immigrants find a better life in northern cities but to use political fervor over immigration to boost

Defendant DeSantis’s national profile.

       4.        To perfect their perverse photo opportunity, Defendants wanted the residents of

Martha’s Vineyard to be unprepared to assist approximately 50 weary immigrants, so Defendants

intentionally did not inform any Massachusetts officials, federal governmental agencies, providers

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of social services, or local organizations of Class Plaintiffs’ impending arrival. Class Plaintiffs

were left stranded, surrounded on all sides by the Atlantic Ocean in an unfamiliar town.

         5.       Although Defendants did not arrange for anyone on the ground in Martha’s

Vineyard to help Class Plaintiffs, they did ensure that footage of the immigrants’ arrival on

Martha’s Vineyard would fall into the hands of friendly media. Shortly after Class Plaintiffs’

arrival, the office of Defendant DeSantis provided Fox News Channel with a video of some of the

passengers disembarking one of the planes on Martha’s Vineyard and boarding awaiting vans,

which Defendants had procured to deposit Class Plaintiffs at an unsuspecting community center.2

         6.       Defendants knew that none of the immigrants—who had just escaped poverty,

political turmoil, and, in some cases, violence—would readily volunteer for their scheme and be

sent to an isolated town as fodder for the national media. So, Defendants lied to Class Plaintiffs

about the true purpose of the trip, who was behind it, where the planes were headed, and what they

could expect when they landed.

         7.       At a press conference the next day, Defendant DeSantis took credit for the scheme,

saying that Defendant State of Florida was “not a sanctuary state” and would “gladly facilitate the

transport of illegal immigrants to sanctuary jurisdictions.”3 He guaranteed that Florida would fly

more immigrants to locations like Martha’s Vineyard, promising to “exhaust” “every penny” of

funds appropriated by the Florida legislature for immigrant relocation.4


2
  Fox News, Florida Gov. Ron DeSantis Sends Plane of Illegal Immigrants to Martha’s Vineyard (Sept. 14, 2022)
(airing “a video Florida Gov. Ron DeSantis’s office provided to Fox Digital News”).
3
  In this First Amended Class Action Complaint, Class Plaintiffs reproduce the terminology Defendants used and/or
the terminology in documents quoting Defendants. “Illegal immigrants” is not a legally correct or otherwise
appropriate term, however. When not quoting, Class Plaintiffs employ more appropriate and legally correct
terminology. Similarly, although “sanctuary jurisdiction,” “sanctuary state,” and “sanctuary city” are not legal terms
with any fixed meaning, Class Plaintiffs use them when in quotation and when specifically referring to Defendants’
intent and views.
4
  WPTV News – FL Palm Beaches and Treasure Coast, Florida Gov. Ron DeSantis Speaks About Migrants in
Martha’s Vineyard, YouTube, https://www.youtube.com/watch?v=HXrL95cwevo (last visited Nov. 3, 2022).

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       8.      While Defendant DeSantis was quick to take credit for the cruel photo opportunity,

he neglected to note that Class Plaintiffs, who were taken to Martha’s Vineyard against their will,

were in Texas and had never set foot in Florida, much less sought sanctuary there, before falling

victim to Defendants’ scheme.

       9.      Individual Plaintiffs, on behalf of themselves and those similarly situated, and

organizational Plaintiff Alianza Americas, a nonprofit corporation that provides resources and

assistance to recently arrived immigrants, bring this action for compensatory and punitive damages

and for declaratory and injunctive relief to prevent Defendants from following through on their

promises to deceive other immigrants into being similarly transported and stranded.

                                 JURISDICTION AND VENUE

       10.     The Court has subject matter jurisdiction over the claims in the First Amended

Class Action Complaint. The Court has jurisdiction over the federal law claims under 28 U.S.C.

§§ 1331 and 1343. The Court has jurisdiction over the state law claims under 28 U.S.C. §§ 1332

and 1367. Complete diversity exists between the parties, and the amount in controversy exceeds

$75,000. The Court has authority to grant declaratory relief under 28 U.S.C. §§ 2201 and 2202.

       11.     The Court has personal jurisdiction over Defendants under Massachusetts G.L. c.

223A, § 3. The exercise of personal jurisdiction over Defendants is consistent with the Due

Process clauses of the Fifth and Fourteenth Amendments to the U.S. Constitution.

       12.     Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

events or omissions giving rise to the claims in this action occurred in this District.




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                                           PARTIES

                                            Plaintiffs

       13.     Plaintiff Yanet Doe was born in Venezuela. In or around June 2022, she fled

Venezuela with her husband, their eleven-year-old son, and another family member. In August

2022, they crossed into the United States near Piedras Negras, Mexico, and immediately

surrendered to federal officials at the border. Plaintiff Yanet Doe and her family were held in

custody for approximately six days before federal immigration officials released them on their own

recognizance. They continue to be subject to ongoing immigration proceedings, which would be

difficult to travel to from Martha’s Vineyard. At the time that Defendants lured Plaintiff Yanet

Doe and her family onto the flight to Martha’s Vineyard, Plaintiff Yanet Doe was required to

appear for an immigration check-in in October 2022 and for a court hearing in February 2023.

       14.     Plaintiff Pablo Doe was born in Venezuela. He and his two brothers fled Venezuela

and traveled for over a month and a half to reach the United States. They crossed into the United

States in August 2022 near Piedras Negras, Mexico. Plaintiff Pablo Doe and his brothers

immediately surrendered to federal officials at the border. They were held in federal custody for

approximately 15 days before federal immigration officials granted them parole. Plaintiff Pablo

Doe and his brothers continue to be subject to ongoing immigration proceedings, which would be

difficult to travel to from Martha’s Vineyard. At the time that Defendants lured them onto the

flight to Martha’s Vineyard, Plaintiff Pablo Doe was scheduled for an appointment with

immigration authorities in October 2022.

       15.     Plaintiff Jesus Doe was born in Venezuela. In or around July 2022, he fled

Venezuela. In September 2022, he crossed into the United States near Piedras Negras, Mexico,

and immediately surrendered to federal authorities at the border. Plaintiff Jesus Doe was held in

                                                5
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custody for approximately a day and a half before federal immigration officials granted him parole.

He is subject to ongoing immigration proceedings, which would be difficult to travel to from

Martha’s Vineyard. At the time that Defendants lured him onto the flight to Martha’s Vineyard,

Plaintiff Jesus Doe was scheduled for a supervised immigration visit in October 2022.

       16.     Plaintiff Alianza Americas is a not-for-profit corporation incorporated in California

with its principal place of business in Chicago, Illinois. It comprises 53 member organizations and

focuses its work on improving the quality of life for all those in the United States-Mexico-Central

America migration corridor and on promoting humane, just, and equitable policies. Alianza

Americas provides a breadth of programming and resources to immigrant communities,

immigrant-serving organizations, state and local officials, and the public concerning issues of

immigration, human rights, and democratic participation.

       17.     As a result of Defendants’ scheme, and in light of Defendants’ public promises to

continue perpetrating their scheme on other unsuspecting immigrants until they run out of funds,

Plaintiff Alianza Americas has been forced to divert programmatic and media resources from its

usual activities to, among other actions, assist member organizations in responding to the needs of

immigrants who have been duped and transported to places where they lack access to housing and

transportation; mobilize staff to educate member organizations and government officials about

Defendants’ actions and threatened future actions; and create programming—including a list of

talking points for immigrants and community members likely to interact with transported

immigrants—to educate newly arrived immigrants that offers of assistance may in fact be attempts

to recruit them to serve as pawns in political stunts. Plaintiff Alianza Americas will continue to

be required to expend its limited resources in a manner that undermines its mission for as long as

Defendants are able to perpetrate their scheme.

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                                               Defendants

        18.     Defendant Ronald D. DeSantis is the Governor of the State of Florida. As governor

of Florida, Defendant DeSantis is the head of the State’s executive branch. Defendant DeSantis is

sued in his official and personal capacities.

        19.     Defendant Jared W. Perdue is Secretary of the Florida Department of

Transportation. As Secretary of the Florida Department of Transportation, Defendant Perdue was

appointed by Defendant DeSantis and under Florida law serves at the pleasure of the governor. In

that capacity, Defendant Perdue oversees the Florida Department of Transportation, which runs

and promulgated guidelines for Florida’s “Relocation Program.” Under Defendant Perdue’s

leadership, the Florida Department of Transportation was responsible for soliciting quotes,

selecting vendors, and negotiating contracts to transport immigrants to Massachusetts. Defendant

Perdue is sued in his official and personal capacities.

        20.     Defendant Lawrence A. Keefe is the “public safety czar” for the State of Florida.

Defendant DeSantis appointed Defendant Keefe as public safety czar in September 2021. As

conceived of by Defendants DeSantis and Keefe, the role of public safety czar has a substantial—

if not exclusive—focus on immigration issues. When appointed, Defendant Keefe stated that

Florida’s agencies would be “addressing the impacts illegal immigration has had” on the state and

thanked Defendant DeSantis for “appointing [him] to lead these efforts.”5                   Among other

responsibilities, Defendant DeSantis charged Defendant Keefe with implementing an executive

order prohibiting cooperation by Florida officials with federal relocation of unauthorized

immigrants in the state. Defendant Keefe traveled to Texas to spearhead efforts on the ground for



5
 Jeff Burlew, Former U.S. Attorney Larry Keefe Re-Emerges as Florida’s New ‘Public Safety Czar,’ Tallahassee
Democrat (Oct. 2, 2021).
                                                     7
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Defendant DeSantis and others as they perpetrated the scheme that gives rise to this action. Before

serving as public safety czar, Defendant Keefe worked as outside counsel to Defendant Vertol

Systems Company.6 Defendant Keefe is sued in his official and personal capacities.

        21.     Defendant James Uthmeier is the Chief of Staff to Defendant DeSantis. Prior to

taking on his current role, he served as Defendant DeSantis’s General Counsel and Deputy General

Counsel. Defendant Uthmeier worked with Defendant Keefe and others to deceive Class Plaintiffs

into accepting transportation that ultimately took them to Martha’s Vineyard. Defendant Uthmeier

is sued in his official and personal capacities.

        22.     Defendant Perla Huerta is a private individual who, on information and belief, most

recently lived in Tampa, Florida. Defendant Huerta helped Defendants perpetrate their scheme by

serving as the lead recruiter of immigrants in and around San Antonio, Texas. Defendant Huerta

gained the trust of Class Plaintiffs by providing them with such items as shoes, gift cards for food,

and free lodging. She told immigrants that they would be flying to large cities like Boston, New

York City, or Washington, D.C., and that, upon their arrival, they would have access to stable

housing, legal assistance with their immigration proceedings, jobs, and other benefits. She

affirmatively concealed the true purpose of the flights and that Defendants were behind the

operation. Her deception induced Class Plaintiffs to board the planes that Defendants chartered to

Martha’s Vineyard.

        23.     Defendant State of Florida is one of the several United States.

        24.     Defendant Florida Department of Transportation (“FDOT”) is an agency of

Defendant State of Florida. According to Defendant FDOT’s Relocation Program Guidelines, the



6
 Nicholas Nehamas et al., ‘You Have My Full Support’: Top DeSantis Aides Played Key Roles in Migrant Flights
(Oct. 15, 2022), Miami Herald.
                                                     8
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funds used to fly Class Plaintiffs from San Antonio, Texas, to Martha’s Vineyard, Massachusetts,

were a portion of those appropriated to Defendant FDOT by Defendant State of Florida from the

General Revenue Fund for immigrant relocation.

        25.     Defendant Vertol Systems Company, Inc. (“Vertol”) is a Florida corporation with

its principal place of business in Destin, Florida. The president and sole officer of Defendant

Vertol is Defendant James Montgomerie. Defendant FDOT paid Defendant Vertol approximately

$1.5 million for the Martha’s Vineyard flights and future flights with similar missions. Defendant

Keefe previously served as outside counsel for Defendant Vertol.

        26.     Defendant James Montgomerie is the president and sole officer of Defendant

Vertol. Defendant Montgomerie was in close communication with Defendants Keefe and Huerta

to execute the transportation of immigrants to Martha’s Vineyard and was present for a portion of

the flights to Martha’s Vineyard, disembarking at a stop in Clearwater, Florida. Defendants Vertol

and Montgomerie have “networked with Republican power brokers in Florida” and donated to

Republican legislators.7

                                                 FACTS

                  Defendant DeSantis Uses Immigrant Relocation as a Political
                             Stunt to Elevate His National Profile

        27.     In early 2022, the governors of Texas and Arizona began to send buses of

immigrants who had recently crossed into those states from Mexico to major metropolitan areas

in the eastern United States. The State of Texas, since the commencement of its program in April

2022, has bused more than 6,200 immigrants to Washington, D.C. Likewise, since May 2022, the




7
 Edgar Sandoval et al., The Story Behind DeSantis’s Migrant Flights to Martha’s Vineyard, N.Y. Times (Oct. 2,
2022).
                                                     9
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State of Arizona has bused over 1,000 immigrants to Washington, D.C.8 Immigrants bused by the

State of Texas have been left at, among other locations, the U.S. Capitol and the residence of Vice

President Kamala Harris. The State of Texas has also bused over 2,000 immigrants to New York

City and 300 immigrants to Chicago.9

        28.     These busing programs have received laudatory coverage from some media outlets,

driven large amounts of campaign fundraising, and appealed to a certain voting base. On April

18, 2022, shortly after the State of Texas commenced its busing program, Sean Hannity, the host

of “Hannity,” a popular program on Fox News that attracts around 2.8 million viewers per episode,

invited Texas Governor Greg Abbott onto his show. Hannity praised Governor Abbott’s actions,

stating, “I love your idea and it’s very effective.”10 When Hannity asked Governor Abbott whether

he planned to “send every illegal immigrant that you find in the state of Texas to Washington,

D.C.,” Governor Abbott said that he would, and if Washington, D.C., ran out of room, “Delaware

looks like a great location.” Hannity concluded the interview by thanking Governor Abbott twice

and telling him, “We appreciate it.” In part because of the national attention that Texas’s busing

program has garnered, there is growing speculation that Governor Abbott intends to compete for

the Republican nomination for president in 2024.

        29.     Like Governor Abbott, Defendant DeSantis is thought to be considering a run for

president in 2024. That speculation has been fueled by reports that he signed a lucrative book deal




8
  Miriam Jordan, G.O.P. Governors Cause Havoc by Busing Migrants to East Coast, N.Y. Times (Aug. 4, 2022),
https://www.nytimes.com/2022/08/04/us/migrants-buses-washington-texas.html.
9
    Stephen Dinan, Texas Migrant Busing Crosses 10,000 Mark, Wash. Times (Sept.                   9,   2022),
https://www.washingtontimes.com/news/2022/sep/9/texas-migrant-busing-crosses-10000-mark/.
10
    ‘Hannity’ on Texas Bussing Migrants to DC, Media Bias, Fox News                      (Apr.   20,   2022),
https://www.foxnews.com/transcript/hannity-on-texas-bussing-migrants-to-dc-media-bias.
                                                    10
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with Harper Collins,11 his accrual of a vast war chest from his campaign for re-election as

governor,12 and his refusal to state that he does not intend to run for president in 2024 during an

October 2022 gubernatorial debate.13

        30.      Unlike Governor Abbott, however, Defendant DeSantis does not lead a state that

shares a border with Mexico. But Defendant DeSantis has not let Florida’s geography prevent him

from keeping pace with Governor Abbott’s national profile on border politics. Defendant DeSantis

has made the issue of immigration at the U.S. southern border a priority during his tenure as

governor of Florida. He has, among other things, traveled to the southern border to meet with law

enforcement;14 publicized lawsuits filed by the Florida Attorney General against the federal

government on border-security issues;15 signed a state law “banning” sanctuary cities in Florida;16

and lamented the “Biden Border Crisis” in press releases.17




11
 Mychael Schnell, DeSantis Signs Book Deal: Report, The Hill (Feb. 17, 2022), https://thehill.com/homenews/state-
watch/594736-desantis-signs-book-deal-report/.
12
  Steve Contorno, Ron DeSantis Has Raised More than $100 Million for His Reelection Bid. Could He Use that
Money in a Presidential Race?, CNN (July 5, 2022), https://www.cnn.com/2022/07/05/politics/ron-desantis-
campaign-finance-2024-election/index.html.
13
  Hannah Knowles & Mariana Alfaro, DeSantis Dodges Questions on 2024, Abortion at Florida Gubernatorial
Debate, Wash. Post. (Oct. 24, 2022), https://www.washingtonpost.com/politics/2022/10/24/florida-governor-debate-
desantis-crist/.
14
   Governor DeSantis Visits Southern Border to Meet with Deployed Florida Law Enforcement, Press Release (July
17, 2021), https://www.flgov.com/2021/07/17/governor-desantis-visits-southern-border-to-meet-with-deployed-
florida-law-enforcement/.
15
  Paul LeBlanc, DeSantis Announces Lawsuit Against Biden Administration over Immigration Policy, CNN (Sept.
28, 2021), https://www.cnn.com/2021/09/28/politics/florida-lawsuit-biden-administration-immigration/index.html.
16
   Governor Ron DeSantis Signs SB 168: Federal Immigration Enforcement, Press Release (June 14, 2019),
https://flgov.com/2019/06/14/governor-ron-desantis-signs-sb-168-federal-immigration-enforcement/.
17
   Governor Ron DeSantis Takes Additional Actions to Protect Floridians from Biden’s Border Crisis, Press Release
(June 17, 2022), https://www.flgov.com/2022/06/17/governor-ron-desantis-takes-additional-actions-to-protect-
floridians-from-bidens-border-crisis/.
                                                       11
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        31.     Last summer, Defendant DeSantis surveyed the landscape on how best to insert

himself into border issues by sending members of his team to Texas to gather “intelligence.”18 As

his preoccupation with the U.S. southern border deepened, Defendant DeSantis and his key

advisors, including on information and belief Defendants Keefe and Uthmeier, hatched a scheme

of their own to send immigrants to the northeast United States and profit from ensuing media

coverage.

        32.     Preparations for this scheme began in earnest in December 2021, when Defendant

DeSantis released a budget proposal and accompanying press release that urged the state

legislature to appropriate funds for the relocation of “unauthorized aliens” out of Florida.

Defendant DeSantis’s proposed budget for the 2022-2023 fiscal year included an appropriation of

$8 million “to implement a program to assist the state’s efforts to protect against harms resulting

from illegal immigration,” which “may include the transport of unauthorized aliens located within

the state to other states within the United States of America, or the District of Columbia.”19

        33.     In his State of the State address in January 2022, Defendant DeSantis positioned

his stance on the southern border as direct opposition to the current Administration. In his address,

he claimed, “Rather than defend our sovereignty and enforce the border, the federal government

has released hundreds of thousands of illegal aliens to communities across the U.S., shipping them

to Florida at alarming rates, including by sending clandestine flights in the dark of night.” He

explained that he was “requesting funds so that when the feds dump illegal aliens in Florida, the



18
  WPTV News – FL Palm Beaches and Treasure Coast, Gov. Ron DeSantis Talks Migrants, Biden Immigration
Policies, YouTube, https://www.youtube.com/watch?v=GVzPDHQP8xw (last visited Nov. 3, 2022); WPTV News –
FL Palm Beaches and Treasure Coast, Florida Gov. Ron DeSantis Speaks About Migrants in Martha’s Vineyard,
YouTube, https://www.youtube.com/watch?v=HXrL95cwevo (last visited Nov. 3, 2022).
19
  Ronald D. DeSantis, Gov. of Florida, Freedom First Budget, http://www.freedomfirstbudget.com/content/
Current/Reports/BudgetHighlights.pdf (last visited Nov. 21, 2022).
                                                   12
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state can re-route them to states that have sanctuary policies” because, in his words, “Florida

should not be made to bear the burden of our federal government’s lawless open border policies.”20

        34.      The Florida legislature subsequently appropriated funds for use in a relocation

program along the lines of the plan Defendant DeSantis proposed.

        35.      On June 2, 2022, Defendant DeSantis signed Florida’s 2022 General

Appropriations Act (the “Appropriations Act”) into law. The Appropriations Act serves as

Florida’s budget for the fiscal year; accordingly, the 2022 Appropriations Act was Florida’s budget

for the 2022-2023 fiscal year, which began on July 1, 2022.

        36.      Section 185 of the General Appropriations Act provides:

                 From the interest earnings associated with the federal Coronavirus
                 State Fiscal Recovery Fund (Public Law 117-2), the nonrecurring
                 sum of $12,000,000 from the General Revenue Fund is appropriated
                 to the Department of Transportation for Fiscal Year 2021-2022, for
                 implementing a program to facilitate the transport of unauthorized
                 aliens from this state consistent with federal law. The department
                 may, upon the receipt of at least two quotes, negotiate and enter into
                 contracts with private parties, including common carriers, to
                 implement the program. The department may enter into agreements
                 with any applicable federal agency to implement the program. The
                 term “unauthorized alien” means a person who is unlawfully present
                 in the United States according to the terms of the federal
                 Immigration and Nationality Act, 8 U.S.C. ss. 1101 et seq. The term
                 shall be interpreted consistently with any applicable federal statutes,
                 rules, or regulations. . . . (emphasis added)

        37.      Pursuant to this provision, Florida’s Relocation Program was funded by interest

earnings associated with the Federal Coronavirus State Fiscal Recovery Fund. That fund was

created by the federal American Rescue Plan Act of 2021, Pub. L. 117-2 (“ARPA”). ARPA, in

turn, established the Coronavirus State and Local Recovery Funds Program (“SLRF”), which



20
  Governor Ron DeSantis’ State of the State Address (Jan. 11, 2022), https://flgov.com/2022/01/11/governor-ron-
desantis-state-of-the-state-address-3/.
                                                      13
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provided over $350 billion in aid to state, local, and tribal governments. Recipients of SLRF funds

may use those funds to, among other things, replace lost public sector revenue, respond to the far-

reaching public health and negative economic impacts of the pandemic, and provide premium pay

for essential workers.

        38.     Defendant State of Florida was allocated and accepted in excess of $8 billion in

SLRF funds under the state-recovery provisions of ARPA. Defendant State of Florida was

allocated and accepted in excess of $1 billion in SLRF funds under the local-recovery provisions

of ARPA to disburse to 355 cities, towns, and townships in the State.

        39.     After the Appropriations Act passed, Defendant FDOT issued guidelines to manage

the State of Florida’s “Relocation Program” (the “Relocation Program”) using the interest earnings

from the State’s Federal Coronavirus State Fiscal Recovery Fund. Those guidelines explained that

Defendant FDOT “manages a program to relocate out of the State of Florida foreign nationals who

are not lawfully present in the United States.” As set forth in the Appropriations Act, the

Relocation Program had a budget of $12 million.

                             Defendants FDOT and Perdue Award the
                         Relocation Program Contract to Defendant Vertol

        40.     In the summer of 2022, Defendants Perdue and FDOT, with funds appropriated

under Section 185 of the Appropriations Act, solicited bids from vendors to fly immigrants from

Florida to other states.

        41.     FDOT issued a request for quotes for the services of a transportation management

company or similar entity “to implement and manage a program to relocate out of the State of

Florida foreign nationals who are not lawfully present in the United States.” That entity would,

under the supervision of a “Department Project Manager” and upon request of “certain designated

state and local law enforcement or criminal justice agencies,” arrange or provide either ground or
                                                14
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air transportation “to assist in the voluntary relocation of Unauthorized Aliens who are found in

Florida and have agreed to be relocated to another state in the United States or the District of

Columbia.”

       42.    The guidelines called for a contract with a term running from the date of the

contract’s execution until June 30, 2023, or until the $12 million appropriated for Florida’s

Relocation Program under the Appropriations Act was exhausted.

       43.    Defendant FDOT received three bids in response to its request for quotes. One bid

came from Gun Girls, Inc. (“Gun Girls”). Gun Girls touted its experience in providing “Inmate

Transport and Extradition” for the Florida Department of Corrections. The company quoted

Defendant FDOT a total price of $26,000 to transport “5 Persons from TBD Florida Location to

TBD Massachusetts Location Week of 8/8/22-8/15/22.”

       44.    Wheels Up also submitted a bid on July 22, 2022. Per the included “Wheels Up

Core Membership Brochure,” Wheels Up required a $17,500 “Initiation Fee,” which provided a

member with access to Wheels Up’s fleet for a twelve-month term. Wheels Up billed its Core

Membership as providing “guaranteed aircraft availability with as little as 48 hours’ notice

throughout the year.”

       45.    Defendant Vertol also submitted a bid, and ultimately secured the contract. On

August 2, 2022, Defendant Montgomerie, President of Vertol, sent a “response to [a] request for

quote dated 1 August 2022” to Paul Baker, an FDOT official who, upon information and belief,

serves as the Commodities and Contractual Services Administrator for Defendant FDOT.

       46.    At the time that Defendant Vertol submitted its bid, Defendant Keefe, who had

formerly represented Vertol as outside counsel, was serving as Florida’s public safety czar.

Defendant Keefe was in regular correspondence with Defendant Montgomerie to make sure that

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the contract went through. For example, on August 26, 2022, Defendant Keefe cryptically texted

Defendant Montgomerie, “Do you think it will be today or Monday re what we discussed?” He

explained that his “colleagues asked me to inquire so they can remain at the office if today.”




       47.     On August 31, 2022, Defendant Keefe continued to shepherd Defendant Vertol

through the bidding process, texting Defendant Montgomerie to confirm that Defendant Vertol

was “register[ed] with the state as discussed with FDOT.” The next day, Defendant Keefe texted

Defendant Montgomerie because “FDOT requested” that Defendant Keefe ask Defendant

Montgomerie “when the proposal will be ready.” Defendant Keefe called Defendant Montgomerie

later that same day before reviewing Defendant Vertol’s proposal to Defendant FDOT and asked
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that Defendant Montgomerie keep him “apprised what occurs” with respect to negotiations so that

he could “stay ahead of things.”




       48.     Defendant Vertol’s initial August 2, 2022 response to Defendant FDOT stated that

the company “own[s] and operate[s] a global fleet of fixed and rotary-wing aircraft” and had “more

than 27 year’s [sic] experience and tens of thousands of hours safely flown.” Defendant Vertol

represented that it could meet the requirements of Defendant FDOT’s “request for the services of

an air transportation company to provide chartered flight services to out-of-state locations

designated by FDOT, within the 48 contiguous states or the District of Columbia.”


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       49.     Defendant Vertol further stated that it could provide specific pricing once

Defendant FDOT confirmed the number of seats required and the destination. It represented that

approximately $35,000 was “an example of our fixed price rates” for four to eight people going

from mid-Florida to the northeast United States. It also noted that the frequency of flights would

be “[a]s needed and requested by FDOT or its authorized representative.”

       50.     On September 2, 2022, Defendant Vertol submitted an updated proposal seeking to

provide Defendant FDOT with “transportation-related, and humanitarian relocation services to

implement a program to facilitate the transport of unauthorized aliens.”             The proposal

“contemplate[d] the ongoing delivery of these Services to FDOT, on an ongoing, month-to-month

basis, in the form of separate relocation.”

       51.     The first project in the proposal, designated as “Project 1,” was to involve “the

facilitation of the relocation of individuals to the State of Massachusetts or other, proximate

northeastern state designated by FDOT based upon the extant conditions.” Defendant Vertol

informed Defendant FDOT that “[a]ircraft options include, but are not limited to those which can

carry up to eight (8) passengers, up to twenty-five (25) passengers and up to sixty-five (65)

passengers.”

       52.     Emails exchanged between officials at Defendant FDOT and Defendant Vertol that

day acknowledge that Defendants anticipated transporting individuals from outside the state of

Florida. According to recent document productions, an FDOT employee told Defendant Vertol

that “Because the flights from Florida may include passengers originating from in or out of

Florida, any pricing information should include, in addition to air transportation from Florida, any




                                                18
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air or ground transportation and related services necessary to facilitate such transportation from

Florida.”21

        53.     On September 6, 2022, Defendant Vertol submitted a follow-up proposal to

Defendant FDOT. That proposal specified that “Project 1” would involve the relocation of up to

50 people “to the State of Massachusetts or other, proximate northeastern state designated by

FDOT based upon the extant conditions.” The proposal stated that “[t]he total price for all Services

related to Project 1 is $615,000, subject to FDOT approval.”

        54.     On September 8, 2022—six days before Class Plaintiffs were flown to Martha’s

Vineyard—Defendant FDOT paid $615,000 to Defendant Vertol out of Florida’s general revenue

fund with the line item “Relocation Program of Unauthorized Aliens.” 22

        55.     On September 19, 2022—five days after Class Plaintiffs were flown to Martha’s

Vineyard—Defendant FDOT paid an additional $950,000 to Defendant Vertol under the same line

item, “Relocation Program of Unauthorized Aliens.”

        56.     On information and belief, both payments to Defendant Vertol were approved by

Defendant Perdue from the $12 million appropriated to Defendant FDOT under Section 185 of the

Appropriations Act.

        57.     On information and belief, Defendant Vertol engaged Defendant Huerta to carry

out a number of the vendor responsibilities relating to recruiting immigrants for transportation.

These responsibilities included requiring Class Plaintiffs to provide documentation of their




21
 Mary Ellen Klas, Before DeSantis Could Say He Kicked Migrants out of Florida, He Had to Pay to Fly Them In,
Miami Herald (Nov. 2, 2022) (emphasis added).
22
  Recent reporting and documents produced by Defendant Vertol also indicate that Defendant FDOT broke with its
normal practice by pre-paying for services. See id.
                                                     19
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immigrant status and to sign sham consent to transport forms, as well as providing meals and

lodging for Class Plaintiffs until they could be transported to Martha’s Vineyard.

      Defendants Deceive Recent Immigrants in Texas into Accepting Transportation

        58.     Having secured Defendant Vertol as a contractor, by late summer 2022, Defendants

had made substantial headway in carrying out their plans to send immigrants from Florida to the

Northeast. But after securing funding and setting up the infrastructure for such relocation efforts,

Defendants encountered a serious hiccup: as of September 2022, immigrants were, in Defendant

DeSantis’s words, only “trick[ling] in” to the State of Florida.23 Defendants had apparently

expected more immigrants to enter the state as part of federal relocation efforts. Defendant

DeSantis explained that “[President Joseph] Biden has not sent us anyone since we got that,” (that

is, funding for Florida’s Relocation Program), and stated that Florida had “not had buses coming

in.” He theorized that “because of what Texas has done [i.e., busing], that has actually taken a lot

of pressure off us.”

        59.     The reduced “pressure” from immigration to the State of Florida did not deter

Defendants. Instead, Defendants continued their relocation program in a calculated move to

capture national attention and advance Defendant DeSantis’s political career. Specifically, in

August and September 2022, Defendant DeSantis and his advisors turned their attention halfway

across the country to immigrants who had crossed the southern border into Texas.

        60.     Defendants set out to San Antonio, Texas, to trick immigrants into accepting

transport to cities in the Northeast. Defendant Keefe, Defendant DeSantis’s close advisor and

Florida’s public safety czar, decamped to San Antonio to lead Defendants’ operations.



23
   Matt Dixon, DeSantis Not Busing Immigrants Because Biden Stopped Sending Them, Politico (Aug. 23, 2022),
https://www.politico.com/news/2022/08/23/desantis-florida-immigration-biden-00053322.
                                                    20
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        61.      Defendant Huerta, a former combat medic and counterintelligence agent in the U.S.

Army, joined Defendant Keefe on the ground, where she served as the lead recruiter of immigrants.

On information and belief, Defendant Huerta was working on Defendant Vertol’s behalf.

        62.      As messages released by the State of Florida reveal, Defendant Keefe was in close

contact with Defendants Huerta and Montgomerie to coordinate efforts to recruit immigrants for

Defendants’ scheme and shared a common goal to round up recent immigrants from South

America to send to Martha’s Vineyard.

        63.      For instance, Defendant Keefe texted Defendant Huerta and another individual a

link to an El Paso Times article about Governor Abbott’s immigrant busing program. Defendant

Huerta responded, “That’s awesome. I’m sure it won’t be long before other places jump on board,”

a sentiment with which Defendant Keefe expressed his agreement. Defendants Keefe and Huerta

also discussed a New York Post article that claimed that “selfies fuel[ed [a] rise in illegal migrants.”

Defendant Huerta mused that “[t]here’s the pull factor . . . [m]aybe we should encourage selfies,”

and Defendant Keefe agreed.

        64.      Defendant Huerta discussed immigration patterns with Defendant Keefe, sharing

screenshots of Google searches she had run for, among other things, “What states are immigrants

going to.”24

        65.      They also kept each other up to date on Defendant Huerta’s efforts to find

immigrants by searching churches, a transportation office, and a convenience store parking lot.




24
  Samantha J. Gross, In Text Messages, Coordinators of Ron DeSantis’s Migrant Flights to Martha’s Vineyard
Reveled in Plotting Surprise Political Stunt, Bos. Globe (Nov. 16, 2022).
                                                      21
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       66.     Defendant Huerta and Defendant Keefe exchanged text messages with Sam Miller,

who on information and belief is a San Antonio–based field operations official for the Texas

Division of Emergency Management, to ramp up their efforts to locate immigrants around San

Antonio. In a group text with Defendant Keefe and Miller, Defendant Huerta asked Miller whether

he “kn[e]w where refugees hang out in between waiting on greyhound and flights out?”

       67.     Defendant Montgomerie was also a frequent correspondent of Defendant Keefe.

Defendant Keefe coordinated his travel plans to San Antonio with Defendant Montgomerie,

including sharing rides and staying at the same hotels.


                                                22
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       68.     Moreover, Defendant Montgomerie kept Defendant Keefe apprised of how efforts

on the ground were proceeding while Defendant Keefe was back in Florida. On August 29, 2022,

for example, he texted Defendant Keefe, “Will call you in the morning, great planning session

with Perla tonight !!”




       69.     While all Defendants were in communication about the scheme, on the ground,

Defendant Huerta was the lead recruiter tasked with finding immigrants in San Antonio and

transporting them to Martha’s Vineyard. Particularly given her correspondence with Defendant

Keefe, she knew or should have known that the scheme was funded by Defendants State of Florida

and FDOT and undertaken at the behest of Defendants DeSantis, Perdue, Uthmeier, and Keefe.
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           70.      In and around San Antonio, Texas, each of the Individual Plaintiffs encountered

Defendant Huerta.

           71.      Defendant Huerta intentionally concealed the purpose of Defendants’ scheme and

Defendants’ identities to Individual Plaintiffs and other members of the Class she met. When

asked by Individual Plaintiffs and Class members, Defendant Huerta stated that the flights she was

procuring for them were being funded by “a wealthy anonymous benefactor” or by “churches and

foundations.”

           72.      As a direct consequence of Defendant Huerta’s lies, each member of the Class was

deceived into accepting transportation from her.

           73.      Acting on behalf of Defendants, Defendant Huerta and her associates exclusively

targeted Latinx immigrants from South American countries to accept transportation—supposedly

to large cities in the Northeast. While substantial numbers of non-Latinx immigrants, including

from European, Asian, or African nations, are in the United States,25 on information and belief,

Defendants did not approach any of them about being transported as part of Florida’s Relocation

Program.

           74.      Defendants targeted Latinx immigrants from South America in part by recruiting

immigrants near the Migrant Resource Center in San Antonio, known to many immigrants as “San

Pedro 7000.” Immigrants are typically allowed to stay at the Migrant Resource Center for just

three days, and many immigrants have no place to go once they are turned out by the Migrant

Resource Center. They are thus particularly vulnerable and in need of help.

           75.      Ultimately, all of the immigrants who were transported to Martha’s Vineyard were

Latinx immigrants from Venezuela or Peru.


25
     See, e.g., Pew Research Ctr., Key Findings About U.S. Immigrants (Aug. 2020).
                                                         24
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       76.     Plaintiff Yanet Doe was one such Latinx immigrant who was deceived into

boarding a plane to Martha’s Vineyard.

       77.     Shortly after being released on her own recognizance by federal immigration

authorities, Plaintiff Yanet Doe and her family, including her eleven-year-old son, sought shelter

at the Migrant Resource Center in San Antonio, Texas. After three days, however, she and her

family were no longer allowed to stay at the shelter and were living on the street.

       78.     Plaintiff Yanet Doe heard from other immigrants at the Migrant Resource Center

that Defendant Huerta—who introduced herself only as “Perla”—was offering help to immigrants

like her. They provided Plaintiff Yanet Doe with Defendant Huerta’s phone number, and Plaintiff

later called her. Plaintiff Yanet Doe recalls Defendant Huerta speaking to her in Spanish and

expressing excitement that Plaintiff Yanet Doe had a young son. Plaintiff Yanet Doe asked

Defendant Huerta whether she could arrange for her family to go to New York, but Defendant

Huerta informed her that they would likely go to Washington, D.C., or another “sanctuary state.”

       79.     Defendant Huerta asked Plaintiff Yanet Doe to send pictures of her and her family’s

immigration documents. Despite some trepidation, Plaintiff Yanet Doe sent Defendant Huerta

photos of the immigration documents over WhatsApp because Defendant Huerta had been kind to

her and they had met near the Migrant Resource Center, which was known to support recent

immigrants. Plaintiff Yanet Doe believed that Defendant Huerta was genuinely trying to help her

and her family.

       80.     Plaintiff Yanet Doe did not know or have reason to know that Defendant Huerta

was employed by Defendant Vertol and working on behalf of the State of Florida at the behest of

Defendant DeSantis, nor that the true purpose of the flight was to capitalize on division over




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immigration issues to raise Defendant DeSantis’s national profile. Defendant Huerta never

disclosed any of this information to Plaintiff Yanet Doe, and in fact affirmatively concealed it.

        81.     Later that day, Defendant Huerta picked up Plaintiff Yanet Doe and her family and

took them to a hotel, where they stayed for five days. The hotel where Defendant Huerta took

Plaintiff Yanet Doe and other Class Plaintiffs was on the edge of town, which isolated them from

the meager support systems and communities they had managed to develop in San Antonio. There,

Class Plaintiffs like Plaintiff Yanet Doe were dependent upon Defendant Huerta to bring them

meals and provide them basic necessities. They were effectively sequestered at the hotel for the

entirety of their stay.

        82.     During their stay at the hotel, Defendant Huerta told Plaintiff Yanet Doe that she

was arranging a flight to a city in the Northeast and, if Plaintiff Yanet Doe and her family got on

the flight, they would be provided with stable housing, work, educational resources for Plaintiff

Yanet Doe’s son, and help changing their address for their immigration proceedings.

        83.     Defendant Huerta never informed Plaintiff Yanet Doe that the flight she was

arranging was actually destined for Martha’s Vineyard, Massachusetts.

        84.     Plaintiff Pablo Doe and his brothers also met Defendant Huerta outside the Migrant

Resource Center in San Antonio. Defendant Huerta and another person were waiting outside the

shelter in a car. Defendant Huerta told Plaintiff Pablo Doe that she worked for “an anonymous

benefactor” who wanted to help them, including getting them free flights to “sanctuary cities.”

She told him that she already had trips planned to northern cities.

        85.     Defendant Huerta further promised Pablo Doe and his brothers that, if they accepted

transport, people would be awaiting their arrival and provide them with employment, housing, free

English classes, medical care, and legal assistance with their immigration proceedings.

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       86.     Defendant Huerta shared her phone number with Plaintiff Pablo Doe and said she

would pick them up the following day at 2 p.m. outside the shelter to take them to a hotel.

Defendant Huerta also asked Plaintiff Pablo Doe and his brothers to send her pictures of their

immigration documents.

       87.     The next day, after Defendant Huerta picked up Plaintiff Pablo Doe and his brothers

in her car, Plaintiff Pablo Doe asked Defendant Huerta for more information about the “anonymous

benefactor.” She threateningly replied, “¿te vas o, no?” [Are you leaving or not?]. Because

Plaintiff was already in the car and Defendant Huerta promised that everything was already

arranged, he and his brothers agreed to leave San Antonio with the assistance of the “anonymous

benefactor.”

       88.     Thereafter, Defendant Huerta and her assistants brought Plaintiff Pablo Doe and his

brothers to the hotel on the edge of town, where they stayed for approximately three days.

       89.     Plaintiff Jesus Doe also met Defendant Huerta near the Migrant Resource Center.

After his release from federal custody, Plaintiff Jesus Doe was sent to a church, where he was

given a bus ticket to Austin, Texas. He did not know anyone in Austin, however, and instead of

traveling to Austin, he walked for five hours until he reached a gas station. There, Plaintiff Jesus

Doe encountered a man who gave him a ride to San Antonio, where he had heard there was a

shelter. Plaintiff Jesus Doe managed to find shelter at the Migrant Resource Center temporarily,

but after exhausting the time he was allowed to stay at the shelter, he slept on the streets nearby.

       90.     On or about September 12, 2022, Defendant Huerta approached Plaintiff Jesus Doe

outside a Walgreens on San Pedro Avenue. She told him that she could help him, just as she had

helped many other Venezuelan immigrants. Plaintiff Jesus Doe believed that Defendant Huerta

was acting under the auspices of a special program for Venezuelan immigration; having no friends,

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family, or other means of assistance in the United States, he saw her offer of generous help as a

“gift from God.”

        91.     Defendant Huerta had Plaintiff Jesus Doe send her copies of his immigration

documents.

        92.     Defendant Huerta then told Plaintiff Jesus Doe that she could get him on a plane to

Washington, Oregon, or Massachusetts, and could pay for him to stay in a hotel while he waited

for the flight. Defendant Huerta promised Plaintiff Jesus Doe that everything was already arranged

and that when he arrived at his destination, he would have access to stable employment, housing,

and legal assistance with his immigration proceedings.

        93.     Thinking of his son back in Venezuela and his precarious circumstances in San

Antonio, Defendant Huerta’s offers of assistance were enticing, and he accepted Defendant

Huerta’s offer to travel to a northern city.

        94.     Defendant Huerta repeated these promises to numerous other recent immigrants

from Venezuela and Peru to convince them to accept transportation. In each instance, she

concealed that she was working on behalf of Defendant State of Florida and at the behest of

Defendant DeSantis, and that she was arranging for immigrants to be transported not to a major

city, but to the small, isolated island of Martha’s Vineyard.

        95.     For example, one immigrant said a woman approached him at a migrant aid center

in San Antonio, asking if he wanted to go somewhere else where there would be jobs. He agreed.26

        96.     Another immigrant, named Estrella, said that she and her daughter were pleading

for food from people walking by when a woman introduced herself as “Perla” and told them that



26
 Dan Rosenzweig-Ziff, Maria Sacchetti, Molly Hennessy-Fiske, Joanna Slater, Hanna Knowles, and Ellen Francis,
DeSantis Move to Fly Migrants to Mass. Stokes Confusion, Outrage from Critics, Wash. Post (Sept. 15, 2022).
                                                     28
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she might have a place for them in New York. Upon information and belief, “Perla” was

Defendant Huerta. According to Estrella, “Perla” told her, “[W]e can help you, but not here.”27

           97.    Other immigrants recalled that Defendant Huerta introduced herself only as “Perla”

and held herself out as a guardian angel, approaching them outside a resource center in San

Antonio and promising a better life up north.28 Defendant Huerta provided immigrants with gift

cards to McDonald’s and arranged for their lodging, including hotel stays at a La Quinta Inn.

           98.    All Class Plaintiffs were in Texas when they were duped into participating in

Defendants’ scheme.

           99.    None of the Individual Plaintiffs or Class Plaintiffs were in Florida when they were

approached by Defendant Huerta, and, on information and belief none had ever set foot in Florida

prior to being approached by Defendant Huerta.

                           Defendants Prepare the Flights to Martha’s Vineyard

           100.   While Defendant Huerta was recruiting unwitting immigrants for the flights to

Martha’s Vineyard, other Defendants were preparing to get the Relocation Program literally off

the ground.

           101.   Defendant Keefe was in Texas arranging the flights, and he was in frequent

communication with Defendant Uthmeier, Defendant DeSantis’s Chief of Staff. On September 5,

2022, Defendant Keefe texted Defendant Uthmeier that he was “back out here,” meaning San

Antonio. Defendant Uthmeier responded to Defendant Keefe, “Very good” and “You have my

full support. Call anytime.”




27
  Edgar Sandoval, Miriam Jordan, Patricia Mazzei, J. David Goodman, The Story Behind DeSantis’s Migrant Flights
to Martha’s Vineyard, N.Y. Times (Oct. 2, 2022).
28
     Id.
                                                      29
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       102.    Because Florida’s Relocation Program was taking place in Texas rather than

Florida, Defendants Keefe and Uthmeier coordinated with Texas officials to transport immigrants

from San Antonio to Martha’s Vineyard. On September 5, 2022, Defendant Keefe texted

Defendant Uthmeier, “TX is aware of Dash, FYI. No worries here.” (“Dash” apparently referred

to Defendants’ scheme to transport immigrants from San Antonio to Martha’s Vineyard.)

Defendant Uthmeier responded, “TX is aware and good with Dash? Please confirm.” To which

Defendant Keefe replied, “Call when convenient.”

       103.    Later that week, Defendant Uthmeier shared Defendant Keefe’s contact

information with Luis Saenz, the Chief of Staff to Texas Governor Greg Abbott.               In an

accompanying message, Defendant Uthmeier texted, “Luis, I’ve asked a guy on my team, Larry

Keefe, to be POC [point of contact] here, and he can loop in others as needed. He serves as one

of the boss’s senior advisors for public safety. He’s a former US Atty under Trump, trustworthy

and effective.” Defendant Uthmeier texted Saenz a day later, “Following up, pls let Larry or me

know a good POC. Happy to touch base again if needed.”

       104.    On September 6, 2022, Defendant Keefe and Defendant Uthmeier exchanged

multiple text messages about the progress of the project and coordination with Defendant Vertol.

Defendant Keefe texted Defendant Uthmeier, saying, “Things are positively accelerating. Are you

able to take a call from the vendor and me around 1230 eastern ? Not urgent.” Defendant Uthmeier

responded, “Yes.” Later that day, Defendant Keefe texted Defendant Uthmeier, “Still no word

from FDOT.” And several hours later, he sent another update to Defendant Uthmeier stating,

“Good progress on FDOT,” to which Defendant Uthmeier responded, “Great, thanks.”

       105.    On September 8, 2022, Defendant Keefe sent two more text messages to Defendant

Uthmeier, in which he stated: “Current plan is for event to occur next Wednesday . . . Will be more

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precise about ETA there as event approaches,” and “No news from me between now and then is

good news. Will let you know if otherwise.”

        106.    Around that same time, on September 9, 2022, Defendant DeSantis was honing his

fundraising pitch on the transportation of immigrants to Martha’s Vineyard. That day, he gave a

speech at the Four Seasons Resort in Orlando. Speaking to “hundreds of the [Republican] party’s

top donors,” Defendant DeSantis addressed Florida’s Relocation Program and said, “I do have this

money. I want to be helpful. Maybe we will go to Texas and help. Maybe we’ll send [immigrants]

to Chicago, Hollywood, Martha’s Vineyard. Who knows?” During the same speech, Defendant

DeSantis complimented the busing program of Texas Governor Abbott as “brilliant” and “very

effective.”29

        107.    Of course, by September 9, Defendant DeSantis’s operatives were already in Texas

and knew exactly where they were going to send Class Plaintiffs. The plan to send unsuspecting

immigrants to Martha’s Vineyard was well on its way.

        108.    Back in the trenches, Defendants Keefe and Uthmeier continued their close

coordination of the recruitment of immigrants in San Antonio. On September 10, 2022, Defendant

Keefe updated Defendant Uthmeier via text that “All is going very well, but may I call you this

morning ?”

        109.    The next day, September 11, 2022, Defendant Montgomerie texted Defendant

Keefe, “We are 50 today” with a thumbs-up emoji. This likely meant that Defendants had recruited

the 50 immigrants they intended to deceive into boarding a plane out of Texas. Defendant

Montgomerie related that “[t]he network has grown exponentially!” and that “[w]e could probably



29
   Josh Dawsey, DeSantis Gave GOP Donors a Glimpse of Plans for Migrant Flights, Wash. Post (Sept. 15, 2022),
https://www.washingtonpost.com/politics/2022/09/15/desantis-migrants-donors/.
                                                     31
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generate another 50 inside 48 hours.” Defendant Keefe congratulated Defendant Montgomerie on

his “[g]reat work.”




       110.    Defendant Keefe then sent a text message to Defendant Uthmeier stating, “We are

at 50.” He followed up with another text asking for a call.

       111.    Similarly, on September 12, 2022, Defendant Huerta texted Defendant Keefe and

another individual, “Yahtzee!! We’re full.” Defendant Keefe responded, “Excellent!” That same

day, Defendant Keefe sent several text messages to Defendant Uthmeier to update him and

Defendant DeSantis’s office on the status of the operation. He texted: “All positive out here.”;

“D1 remains on track for this Wednesday.”; “D2 trending to occur Tuesday of next week.”; “Are

you available for an update call late afternoon or early evening re D2?”; and “May I call you with
                                                 32
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the vendor re D2?” On information and belief, “D1” refers to the flights to Martha’s Vineyard,

“D2” refers to flights planned to Delaware for the following week, and the “vendor” referred to in

Defendant Keefe’s text messages is Defendant Vertol.

       112.    On September 13, 2022, Defendant Keefe and Defendant Uthmeier texted to

coordinate a call with Defendant Vertol. Further text messages indicate that Defendants Keefe

and Uthmeier spoke at 2:30 p.m. that day.

       113.    On information and belief, all Defendants were aware that Defendant State of

Florida was paying for the flights to Martha’s Vineyard; that the flights’ true purpose was to use

political dissention over federal immigration policy to boost Defendant DeSantis’s national profile;

that the flights were going from Texas to Martha’s Vineyard; and that no one in Massachusetts

would be expecting Class Plaintiffs’ arrival.

       114.    Further, on information and belief, all Defendants were aware that this information

had not been revealed to Class Plaintiffs, and indeed had been affirmatively concealed from them,

because it would deter Class Plaintiffs from participating in the scheme and increase the likelihood

that word of the flights would leak to media, thus depriving Defendants of the “element of surprise”

they wanted to make their media stunt effective.

                Class Plaintiffs Are Unwittingly Flown to Martha’s Vineyard

       115.    On September 14, 2022, at around 7:00 a.m., Defendant Huerta gathered several

dozen immigrants that she had previously recruited, including Plaintiffs Pablo and Jesus Doe, to

have them sign a document in exchange for a $10 McDonald’s gift card. Defendant Huerta did

not explain the contents of the document.

       116.    Defendant Huerta directed Plaintiff Jesus Doe to write his name and date of birth

on the document and sign it. Plaintiff Jesus Doe was not given time to read or review the document,

                                                33
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received no explanation of what he was signing, and was induced to sign by the promise of a $10

gift card for food.

        117.    Pursuant to a records request, Defendant State of Florida has produced the so-called

“Official Consent to Transport” forms that Defendant Huerta had the immigrants transported to

Martha’s Vineyard sign. An example of one such form is reproduced below.




                                                 34
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           118.     The “Official Consent to Transport” forms do not reveal that any of Defendants,

including Defendant State of Florida, arranged transportation for the immigrants. Rather, they

require the signer to attest that they “agree[] to be transported by the benefactor or its designated

representatives.” The forms make three references to such a “benefactor,” but never identify the

role of Florida government officials. The forms thereby intentionally hid Defendants’ role and the

fact that a U.S. State’s government and its officials were behind Class Plaintiffs’ transportation

from Texas. Moreover, the use of the term “benefactor” was intentionally misleading, indicating

that someone with the immigrants’ best interests was funding this transportation. In fact, the only

interests being advanced here were Defendants’.

           119.     Further, the “Official Consent to Transport” forms do not state that Class Plaintiffs

were accepting transport to Martha’s Vineyard or that they were consenting to being taken to

Florida en route to their final destination. The forms simply state that they will reach a “final

destination of Massachusetts.”

           120.     Particularly given Defendants’ promises that Class Plaintiffs would have access to

food, shelter, employment, and legal assistance if they accepted transport, the “Official Consent to

Transport” forms do not establish Class Plaintiffs’ consent to be sent to the island of Martha’s

Vineyard, abandoned, and used as political props.

           121.     The same morning that Class Plaintiffs signed the sham consent forms, Defendant

Huerta arranged for shuttles to take members of the Class, including Individual Plaintiffs, to an

airport where two chartered planes, provided by Defendant Vertol30 and secured with funds from

Defendant FDOT, awaited them.




30
     Vertol procured the planes, but the planes themselves were owned by Ultimate Jet LLC, which is based in Ohio.
                                                          35
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        122.    Defendant Huerta had Class Plaintiffs line up and told them not to take pictures or

use their phones at all.

        123.    Plaintiff Yanet Doe recalls that, at the airspace, there were military planes and what

appeared to be some kind of law enforcement. Videos also reveal a uniformed officer leading a

police dog up and down the line of immigrants waiting to board the plane.




        124.    Plaintiff Yanet Doe became scared and asked Defendant Huerta if they were being

deported. Defendant Huerta told her to remain calm and that they would not be deported. Plaintiff

Yanet Doe recalls a man taking their photos as they boarded the plane.

        125.    Photographs produced by the State of Florida in response to records requests show

members of the Class boarding one of the chartered flights.
                                                 36
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       126.    A woman who looks to be Defendant Huerta also appears in the photographs with

Class Plaintiffs as they line up to board the plane. Although Defendant Huerta told some of Class

Plaintiffs, including Plaintiff Yanet Doe, that she would be taking the flights with them, Defendant

Huerta did not board either of the planes.




                                                37
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        127.     Documents obtained by the Miami Herald and text messages produced by the State

of Florida show that Defendant Keefe and Defendant Montgomerie got on the flights with Class

Plaintiffs in San Antonio.31

        128.     On September 14, 2022, the day the planes departed San Antonio, Defendant Keefe

texted Defendant Uthmeier, Defendant DeSantis’s close advisor, to provide an update on Class

Plaintiffs’ (and his own) impending departure from Texas. He wrote, “All good. Close to

departure. Will advise when we depart.” Later, Defendant Keefe promptly texted Defendant

Uthmeier, and thus Defendant DeSantis’s office, when the planes departed San Antonio. He sent

two messages to Defendant Uthmeier stating, “Wheels up” and “Should be in contact again around

1100 eastern.”




31
 Mary Ellen Klas, Before DeSantis Could Say He Kicked Migrants out of Florida, He Had to Pay to Fly Them In,
Miami Herald (Nov. 2, 2022).
                                                    38
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         129.     Both flights departed from San Antonio, Texas, and made 30-minute stops in

Crestview, Florida. Class Plaintiffs did not disembark in Crestview.32

         130.     Rather, the purpose of the stop in Crestview was two-fold. First, the planes stopped

in Crestview to create the illusion that members of the Class were immigrants in Florida and thus

subject to Defendant FDOT’s Relocation Program. Defendants’ calculated pit stop in Crestview

was a sham and a tacit concession that their transportation of immigrants from San Antonio to

Martha’s Vineyard did not comply with Florida state law and was a misuse of state funds.

         131.     Second, the flights stopped in Crestview to drop Defendants Keefe and

Montgomerie off in the vicinity of their homes.33

         132.     Class Plaintiffs, however, were required to continue their journey toward Martha’s

Vineyard. Thereafter, one plane made a subsequent stop in Spartanburg, South Carolina, for fuel

and to change the flight crew, while the other did the same in Charlotte, North Carolina.34

         133.     When her plane made its second stop for fuel, Plaintiff Yanet Doe briefly turned

her phone on to look at a map and make sure that they were still in the United States. She quickly

put her phone away once she confirmed that she and her family had not been transported out of

the country and deported.

         134.     While on the planes, just minutes before landing in Martha’s Vineyard, each

member of the Class was given a red folder containing several documents.




32
   Who Is Perla? A Central Figure in Florida’s Migrant Flight Emerges, N.Y. Times (Oct. 3, 2022). None of the
Individual Plaintiffs or the Class Plaintiffs disembarked, and this was the only time that Individual Plaintiffs and, on
information and belief, Class Plaintiffs were ever in Florida.
33
 Mary Ellen Klas, Before DeSantis Could Say He Kicked Migrants out of Florida, He Had to Pay to Fly Them In,
Miami Herald (Nov. 2, 2022).
34
 Dan Rosenzweig-Ziff et al., DeSantis Move to Fly Migrants to Mass. Stokes Confusion, Outrage from Critics,
Wash. Post (Sept. 15, 2022).
                                                          39
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       135.    One document in the red folder was a map of the United States to which, upon

information and belief, Defendants or their agents had added a star and the text “You are here/Estas

Aqui” in the general vicinity of San Antonio, Texas. They drew an arrow pointing from San

Antonio, Texas, to southern Massachusetts, where text read “Destination/Destinación.”




       136.    The second document in the red folder, bearing the title, “Welcome to

Massachusetts/Bienvenido a Massachusetts,” was a map of Martha’s Vineyard to which, upon

information and belief, Defendants or their agents added a star and the text “You are here/Estas

Aqui” near the location of the Martha’s Vineyard airport.




                                                40
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       137.     Finally, the red folder contained a brochure entitled “Massachusetts Refugee

Benefits/Massachusetts Beneficios para Refugiados.” The brochure contained information about

benefits purportedly available to Class Plaintiffs, including a “Refugee Cash Assistance” program

and a “Refugee Employment Services” program. The brochure advertised that the “Refugee Cash

Assistance” program provided “up to 8 months of cash assistance for income-eligible refugees

without dependent children, who reside in Massachusetts.” The “Refugee Employment Services”

section offered information about “targeted services for both early employment and long-term self-

sufficiency” through an “integrated model” that included English and employment readiness

classes.

                                               41
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       138.    This brochure was a fake. It was not an official document. It was not even an

accurate document. It was not prepared by any Massachusetts agency or immigration services

organization. Rather, on information and belief, Defendants or their agents fabricated the brochure

as part of their ongoing campaign to deceive Class Plaintiffs.

       139.    The brochure contained trappings of an official government document, including

photographs of a “Massachusetts Welcomes You” sign and a lighthouse, an image of the

Commonwealth, contact information for community services, and a seemingly official state flag.

       140.    The benefits and programs described in the brochure appear to pertain to the

Massachusetts Refugee Resettlement Program, a state program with highly specific eligibility

requirements that neither Individual Plaintiffs nor, upon information and belief, any members of

the Class are eligible for. Additionally, and unbeknownst to Class Plaintiffs, the “state flag”

depicted on the brochure was not the official flag of the Commonwealth of Massachusetts.

       141.    The brochure echoed many of the false representations and promises that Defendant

Huerta made to Class Plaintiffs in Texas to induce them to accept her offers of transportation. For

instance, it stated, “During the first 90 days after a refugee’s arrival in Massachusetts, resettlement

agencies provide basic needs support,” including assistance with housing, food, clothing, job

training, and other basic necessities.




                                                  42
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       142.    Other documents in the red folder included a copy of U.S. Citizenship and

Immigration Services (USCIS) Form AR-11, entitled “Alien’s Change of Address Card,”

accompanied by a document written in Spanish instructing Class Plaintiffs on how to change their

addresses with USCIS. Notably, even if Class Plaintiffs had properly filled out this form, it would

not have been sufficient to alert the relevant immigration authorities to their change of address.

       143.    While in flight, around the same time that they were given the red folders, Class

Plaintiffs were informed for the first time that they were being taken to Martha’s Vineyard, an

island off the coast of Massachusetts that is accessible only by boat or plane.

       144.    When Plaintiff Yanet Doe received the red folder and learned she would be taken

to an island, she was devastated and terrified. She looked out the window and, instead of seeing a

city, saw only water. She recalls “wanting to die” and wishing she could turn back to San Antonio.

She and her family were afraid even to get off the plane when it landed on Martha’s Vineyard.

       145.    Plaintiff Jesus Doe recalls learning from the red folder that he was being taken to

Martha’s Vineyard. It was a place he had never heard of—all that he knew was that it was not

Boston, as Defendants and their agents had suggested the flight’s destination would be.

       146.    By the time Class Plaintiffs learned that they were being taken to Martha’s

Vineyard, they had no ability to refuse transportation to the island. Class Plaintiffs were trapped

midair on planes that they had boarded under false pretenses. Simply put, there was no way for

them to escape.




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      Class Plaintiffs Arrive in Martha’s Vineyard, Where No One Is Expecting Them

        147.    Around 3:12 p.m. local time on September 14, 2022, the first plane arrived in

Martha’s Vineyard. The second plane arrived in Martha’s Vineyard approximately 18 minutes

later, around 3:30 p.m. local time.35

        148.    When Class Plaintiffs disembarked in Martha’s Vineyard, they found themselves

in the middle of a staged campaign photo opportunity. Defendant DeSantis’s office arranged for

Class Plaintiffs’ deplaning to be video recorded and promptly sent that video to Fox News.




35
 Dan Rosenzweig-Ziff et al., DeSantis Move to Fly Migrants to Mass. Stokes Confusion, Outrage from Critics,
Wash. Post (Sept. 15, 2022).
                                                    45
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        149.     Class Plaintiffs were then rushed to waiting vans that took them to a local

community center, Martha’s Vineyard Community Services.36 Defendant DeSantis’s office also

provided Fox News with a video of Class Plaintiffs boarding those vans. A still from that video is

included below.




        150.     While Class Plaintiffs were loaded onto vans, the planes were gearing up for one

last leg of the flight—this one apparently to drop Defendant Vertol employee Candice Wahowski,

and Michael Basaldu, Eliana Nanclares, and Edgar Torres in Atlantic City, New Jersey.37

        151.     On information and belief, no one on Martha’s Vineyard—other than Defendant

DeSantis’s videographer and the waiting van drivers—was expecting Class Plaintiffs’ arrival.

Geoffrey Freeman, director of the airport at Martha’s Vineyard, reported that vans were waiting

to pick up the Class Plaintiffs, but that no one else in the Commonwealth of Massachusetts had


36
  Edgar Sandoval, Miriam Jordan, Patricia Mazzei, J. David Goodman, The Story Behind DeSantis’s Migrant Flights
to Martha’s Vineyard, N.Y. Times (Oct. 2, 2022).
37
  See Mary Ellen Klas, DeSantis Used Taxpayer Money to Fly Migrants to Florida, Then Fly Them Out (Nov. 2,
2022),         https://www.tampabay.com/news/florida-politics/2022/11/02/how-desantis-used-taxpayer-money-fly-
migrants-florida-then-fly-them-out/.
                                                      46
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advance notice of their arrival.38 Rather, just as Defendants had planned, everyone in Martha’s

Vineyard and the Commonwealth of Massachusetts was taken entirely by surprise.

           152.   Around 3:45 p.m., Beth Folcarelli, the chief executive at Martha’s Vineyard

Community Services where the vans dropped Class Plaintiffs off, was in her office when she saw

a group of people walking in her direction. She noted that the people “looked inquisitive” and

were “looking for help.” She spoke to them, but understood only the words “Venezuela” and

“refugees.”39

           153.   Folcarelli said that the people that she encountered “were surprised that we weren’t

expecting them.” She recounted that each immigrant was carrying a red folder containing a basic

map of Martha’s Vineyard, a trifold pamphlet with information on refugee services, and a piece of

paper with their name on it.40

           154.   Another community member, the Reverend Vincent Seadale of St. Andrew’s

Episcopal Church on Martha’s Vineyard, was out of the state when a parishioner called and told

him that dozens of immigrants had been “dumped at the airport” with nowhere to go. St. Andrew’s,

which houses homeless residents of the island during the winter, opened its doors to Class

Plaintiffs.41

           155.   When Class Plaintiffs realized that Defendants had lied to them and left them on an

island with none of the jobs, services, or benefits they were promised, they felt scared and




38
     Id.
39
     Id.
40
 Dan Rosenzweig-Ziff et al., DeSantis Move to Fly Migrants to Mass. Stokes Confusion, Outrage from Critics,
Wash. Post (Sept. 15, 2022).
41
     Id.
                                                    47
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confused. As Defendant DeSantis has acknowledged,42 Martha’s Vineyard is an island that is

accessible only via plane or boat—there are no bridges connecting Martha’s Vineyard to the

mainland United States. As Defendants knew, Class Plaintiffs had no money or resources at their

disposal to hire a plane or boat off the island, and they were trapped on Martha’s Vineyard with

no prospect of leaving on their own.

        156.     Upon arriving in Martha’s Vineyard, Plaintiff Yanet Doe felt helpless, defrauded,

desperate, anxious, and confused. She started crying, as she worried she had made the wrong

decision in trusting Defendant Huerta and had endangered her son. She did not know what to do

or how to seek help, and she and her family were left freezing in t-shirts and shorts in the cool

Martha’s Vineyard temperatures. Plaintiff Yanet Doe sent a message to Defendant Huerta asking

her why she had done this to her and her family, but Defendant Huerta dismissed her concerns and

said she would find help. As a result of Defendants’ conduct, Plaintiff Yanet Doe suffered from

lack of sleep and vertigo.

        157.     Moreover, as a result of Defendants’ conduct, Plaintiff Yanet Doe and her family

have suffered emotional and economic harm and irreparable damage to their dignity and

autonomy. Her young son has been particularly affected. He refuses to talk to anyone about the

incident and distrusts everyone who approaches him. He now asks Plaintiff Yanet Doe if offers

of assistance are a “Perla situation” or “like Perla”—that is, if such offers are deceitful. He is

particularly afraid that his identity will be revealed and that what happened to him and his family

will be broadcast on television.43



42
 WPTV News – FL Palm Beaches and Treasure Coast, Florida Gov. Ron DeSantis Speaks About Migrants in
Martha’s Vineyard, YouTube, https://www.youtube.com/watch?v=HXrL95cwevo (last visited Nov. 3, 2022).
43
   Indeed, because—unbeknownst to Class Plaintiffs—the flights were orchestrated by a governmental entity,
significant information about Class Plaintiffs, including the immigration documents that they provided to Defendant
Huerta, have now been released by Defendants in response to public records requests.
                                                        48
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       158.    For recent Venezuelan immigrants like Plaintiff Yanet Doe and her son, these

feelings of distrust remind them of their fear of becoming involved in politics in Venezuela.

Inserting oneself into politics in Venezuela can have severe and even violent consequences.

Plaintiff Yanet Doe had hoped to leave the ugliness of politics behind as she started her new life

in America.

       159.    If Plaintiff Yanet Doe and her family had known that Defendants had not arranged

for shelter and other services—and had not even attempted to do so—but instead had planned to

deposit her and her family on an island and disseminate their photographs to the national media as

part of a political stunt, they never would have accepted Defendant Huerta’s offer and would not

have boarded the flight to Massachusetts.

       160.    Like Plaintiff Yanet Doe, upon arriving in Martha’s Vineyard, Plaintiff Pablo Doe

felt helpless, defrauded, desperate, anxious, and confused. He attempted to reach Defendant

Huerta using the number she had given him in Texas. But unlike when they were in Texas,

Defendant Huerta did not take his calls or respond to any of his text messages.

       161.    As a result of Defendants’ conduct, Plaintiff Pablo Doe has suffered from a lack of

sleep. Moreover, as a result of Defendants’ conduct, he and his brothers have suffered emotional

and economic harm and irreparable harm to their dignity and autonomy.

       162.    If Plaintiff Pablo Doe and his brothers had known that Defendants had not arranged

for shelter and other services—and had not even attempted to do so—but instead had planned to

deposit him and his brothers on an island and disseminate their photographs to the national media

as part of a political stunt, they never would have accepted Defendant Huerta’s offer and would

not have boarded the flight to Massachusetts.




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       163.     When Plaintiff Jesus Doe realized that no one in Martha’s Vineyard was expecting

him, he worriedly sent a voice message on WhatsApp to the number Defendant Huerta had given

him, asking (in Spanish), “One Question, what institution are we supposed to look for? We arrived

and no one is saying anything.” The app indicated that Defendant Huerta listened to his message,

but she never responded. Plaintiff Jesus Doe has not heard from her since.

       164.     Finding himself abandoned on Martha’s Vineyard, Plaintiff Jesus Doe felt

defrauded, desperate, anxious, and confused.      The experience of being used as a pawn in

Defendants’ scheme and transported to Martha’s Vineyard under false pretenses has been

traumatizing.

       165.     As a result of Defendants’ conduct, Plaintiff Jesus Doe has suffered from lack of

sleep and vertigo. His spirits plummeted when he found out that Defendants had lied to him. He

developed a headache and did not want to talk to anyone.

       166.     Moreover, Plaintiff Jesus Doe suffered emotional and economic harm and

irreparable harm to his dignity and autonomy. He believed that his ability to support his son back

in Venezuela was lost because he was now stranded on an island without resources or support. He

did not know what to do next.

       167.     Today, he is constantly scared of being recognized as one of the immigrants who

was deceived into coming to Martha’s Vineyard. He tries to keep a low profile to avoid people

identifying him as one of the immigrants whom Defendants stranded on Martha’s Vineyard, and

he has lost trust in people because he cannot know whether they have bad intentions like

Defendants.

       168.     If Plaintiff Jesus Doe had known that Defendants had not arranged for shelter and

other services—and had not even attempted to do so—but instead had planned to deposit him on

                                               50
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an island and disseminate his photograph to the national media as part of a political stunt, he never

would have accepted Defendant Huerta’s offer and would not have boarded the flight to

Massachusetts.

           169.   Other Class Plaintiffs experienced similar trauma upon learning of Defendants’

duplicity. One Class Plaintiff described feeling trapped and desperate—“we were tricked like

children.” Another Class Plaintiff, a mother, experienced asthmatic symptoms due to the stress of

the situation, and she did not have an inhaler to provide relief.

           170.   Some Class Plaintiffs tried, in vain, to find a bridge to the mainland. Others

wandered for miles looking for services. Still others told State Representative Dylan Fernandes,

who represents Martha’s Vineyard, that they were terrified when they realized that they were

surrounded by water.44

           171.   Staff members at the community center arranged for one Class Plaintiff, Pablo, to

call his wife in Venezuela. “My love, we were tricked,” he told her. Weeping uncontrollably, he

continued, “This woman lied to us. She lied.”45

           172.   In response to Defendants’ fraudulent actions, Plaintiff Alianza Americas has

mobilized its resources to help Class Plaintiffs and prevent similar schemes from coming to

fruition. The organization has diverted staff, educational resources, and financial resources away

from its planned programming and mission toward supporting its member organizations and the

vulnerable victims of Defendants’ scheme.

           173.   Specifically, Plaintiff Alianza Americas redirected the time of its staff, including

its executive director, associate director for programs, media and communications director, and


44
  Edgar Sandoval et al., The Story Behind DeSantis’s Migrant Flights to Martha’s Vineyard, N.Y. Times (Oct. 2,
2022).
45
     Id.
                                                     51
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several key support staff positions, away from programmatic and media resources toward assisting

member organizations, volunteers, asylum seekers, and immigrants who were flown to Martha’s

Vineyard. Among other things, these personnel helped member organizations coordinate and

provide emergency support to the immigrants sent to Martha’s Vineyard and other cities.

       174.    Plaintiff Alianza Americas has developed public educational materials, including

talking points and community programming for immigrant-serving communities, to provide

critical information on how to access resources and assistance to immigrants who were flown into

Martha’s Vineyard, as well as to people who may be vulnerable to similar deceptive acts in the

future. That information has the potential to help immigrants and community advocates stop

similar schemes before they get off the ground.

       175.    In addition, the organization has worked with local governments to recommend

ways that local and state governments can best support asylum-seeking immigrants who have been

preyed upon by actors like Defendants. These efforts have included educating local and state

officials on the legal, social, and cultural background of the immigrants who unexpectedly arrived

on Martha’s Vineyard.

       176.    Plaintiff Alianza Americas fears and anticipates that it will need to continue to

direct resources toward the education and support of immigrants and local government officials as

they cope with similar deceptive transports and schemes.

       177.    Absent injunctive and declaratory relief, Plaintiff Alianza Americas will continue

to suffer harm due to Defendants’ actions because it will be required to forgo organizational

priorities and instead direct its personnel and money toward educating and supporting immigrants

who fall victim to Defendants’ ploys and assisting the communities that offer deceived immigrants

food, shelter, and assistance.

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        Defendant DeSantis Takes Credit for the Scheme and Promises More Flights

        178.    Class Plaintiffs’ turmoil was a victory for Defendants. On September 15, 2022,

Defendant DeSantis held a press conference at which he claimed credit for flying Class Plaintiffs

to Martha’s Vineyard. He boasted, “If you have folks that are inclined to think Florida is a good

place, our message to them is we are not a sanctuary state and it’s better to be able to go to a

sanctuary jurisdiction.”46

        179.    Defendant DeSantis further explained that he had funded the scheme out of the $12

million appropriated to Defendant FDOT for immigrant relocation by the Florida legislature. He

guaranteed that he would continue to relocate immigrants until “every penny” of the appropriated

funds had been “exhaust[ed].” He continued, “These are just the beginning efforts . . . . We’ve got

an infrastructure in place now. There’s going to be a lot more that’s happening.”

        180.    When pressed on the fact that the flights had originated in Texas, not Florida,

Defendant DeSantis admitted, “[T]he problem is, is, we’re not seeing mass movements of them

into Florida . . . .” He claimed that “we’ve had people on the border for last summer, we’ve done

a lot of intelligence, and everyone down there will say between a third and forty percent of the

people coming across are seeking to end up in Florida. And so we have to go and figure out OK

who are these people likely to be, and if you can do it at the source and divert to sanctuary

jurisdictions, the chance they end up in Florida is much less.”

        181.    Defendant Huerta did not ask Individual Plaintiffs whether they intended to make

their way to Florida, and on information and belief, no Defendant asked any member of the Class

whether they intended to go to Florida.



46
 Dan Rosenzweig-Ziff et al., DeSantis Move to Fly Migrants to Mass. Stokes Confusion, Outrage from Critics,
Wash. Post (Sept. 15, 2022).
                                                    53
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       182.    Defendant DeSantis’s statements in the aftermath of the flights make it clear that

this ruse and his antics were instead intended to attract a national audience. At a press conference,

Defendant DeSantis capitalized on the coverage of Defendants’ scheme to focus attention on

himself and his immigration priorities: “At the end of the day, this is a massive policy failure by

the President. This is a massive and intentional policy that is causing a huge amount of damage

across the country,” DeSantis said in a clip from a press conference that he tweeted out from his

official Twitter account.

       183.    Defendant DeSantis also praised Defendants’ scheme at a press conference on

September 15, a clip of which appeared on his official Twitter page that same day. During that

press conference he explained, “In Florida, we take what is happening at the southern border

seriously. We are not a sanctuary state, and we will gladly facilitate the transport of illegal

immigrants to sanctuary jurisdictions.”




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        184.    Defendant DeSantis welcomed the national publicity from the flights. He boasted

at a press conference that “[t]here were more Acela corporate journalists in Martha’s Vineyard

today than have ever gone down to the southern border to look what’s going on.” And a few days

later, Defendant DeSantis claimed that Defendants’ scheme to send immigrants to Martha’s

Vineyard had “already made more of an impact than anyone thought it could possibly make.” He

continued by noting that immigration “will be a big issue in the elections, I can tell you that . . . .

The biggest stunt was Biden coming in as president and reversing Trump’s policies.”47

        185.    Aides of Defendant DeSantis also acknowledged the flights and Defendant

DeSantis’s responsibility for them. On September 14, 2022, Jeremy Redfern, Deputy Press

Secretary to Defendant DeSantis, tweeted a picture of the Martha’s Vineyard vacation home of

former president Barack Obama with the text “7 bedrooms with 8 and a half bathrooms in a 6,892

square-foot house on nearly 30 acres. Plenty of space.”




47
  Jesse Mendoza, DeSantis Defends Martha’s Vineyard Decision, Blasts Biden During Visit in Bradenton, Sarasota
Herald-Tribune (Sept. 20, 2022), https://www.heraldtribune.com/story/news/state/2022/09/20/marthas-vineyard-
immigrants-florida-gov-desantis-blasts-immigration-policy-in-bradenton/10433726002/.
                                                     55
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       186.   Defendant Uthmeier, Defendant DeSantis’s Chief of Staff, tweeted: “Joe Biden

flies planes of immigrants into Florida and it’s perfectly fine. @GovRonDeSantis helps them get

to wealthy communities that support open border policies and now it’s a hate crime?” The next

day, he retweeted a video of a couple performing “The Martha’s Vineyard Invasion Song.”




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       187.    Defendants Keefe and Huerta also celebrated the stunt. Defendant Huerta texted

Defendant Keefe on September 14, 2022: “Victory Arms For you!!! Thank you for this

opportunity and support.” Defendant Keefe responded, “Thank you for all, Perla !!! Let’s drive

on !!! Salute to you. Larry.”

       188.    On September 19, 2022, Defendant Keefe received several text messages, including

screenshots of WhatsApp conversations and photos related to the flights. On information and

belief, those photos were of Class Plaintiffs who were flown to Martha’s Vineyard, and the

screenshots were of WhatsApp messages that Defendant Huerta received from Class Plaintiffs. It

is not clear who sent the messages to Defendant Keefe, but the messages demonstrate that

Defendant Keefe was tapped into Defendant Huerta’s actions on the ground and supportive of the

tactics being used to deceive them.




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        189.      Around that time, Defendant DeSantis continued to defend the stunt, telling

reporters in Florida, “If you believe in open borders, then it’s the sanctuary jurisdictions that should

have to bear the brunt of the open borders.”48

              Defendants Have Made Clear They Will Continue Their Illegal Activities

        190.      Defendants have repeatedly expressed their intention to continue transporting

immigrants to Martha’s Vineyard and elsewhere and have, in fact, laid the groundwork to send

immigrants to other destinations in the United States.

        191.      First, after the initial two flights to Martha’s Vineyard were full, Defendant Huerta

had an assistant continue to hand out her business cards to immigrants in the San Antonio area

who might be future targets for the scheme. Second, Defendant FDOT has already paid Defendant

Vertol for additional flights of immigrants. Specifically, Defendant FDOT arranged for Defendant

Vertol to transport “approximately 100 or more” immigrants to Delaware and Illinois. “Project 2”

is described as involving Defendant Vertol transporting up to 50 immigrants to Delaware.

“Project 3” is described as involving Defendant Vertol transporting up to 50 immigrants to

Illinois.49

        192.      Defendant Montgomerie was optimistic in text messages to Defendant Keefe that

Defendant Vertol could pull off an additional mission: “Larry,” he said, “we could certainly do

Delaware, Friday or Saturday next week, 50 pax easy.”

        193.      Flights were scheduled to take place between September 19 and October 3, 2022,

but did not occur as Defendants planned. Defendants and their agents went so far as to file flight


48
  Marc Caputo & Laura Egan, ‘Punked’: DeSantis Keeps the White House, Delaware and Media Guessing on Migrant
Flight Plans (Sept. 20, 2022), https://www.nbcnews.com/politics/immigration/punked-desantis-keeps-white-house-
delaware-media-guessing-migrant-flig-rcna48627
49
 Paul P. Murphy, DeSantis Migrant Relocation Program Planned to Transport ‘100 or More’ to Delaware, Illinois,
Documents Obtained by CNN Show, CNN (Oct. 15, 2022).
                                                     58
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plans with the Federal Aviation Agency for a set of flights from San Antonio, Texas, to Delaware.

But the plan to fly immigrants to Delaware was scuttled on September 22, 2022, after only 20

immigrants were recruited. Like Class Plaintiffs, several of the immigrants who intended to take

that flight reported that they were recruited by an unnamed woman who offered them a place to

sleep and the prospect of transportation. At the time, several of the recruited immigrants had been

sleeping in the streets.50

        194.     In a memo dated October 8, 2022, Defendant Vertol extended the project dates for

its participation in the Relocation Program to December 1, 2022. Further, in addition to the

$615,000 that Defendant Vertol collected for the Martha’s Vineyard flights, Defendant FDOT paid

$950,000 to Defendant Vertol. Upon information and belief, those funds have not been exhausted

and suggest that Defendant Vertol and Defendant FDOT maintain the ability to quickly implement

another transport scheme. None of the Defendants has indicated that future flights will not occur

or that the scheme has ended.

        195.     In fact, Defendants have done the opposite. They have insisted that the flights will

continue. On October 17, 2022, when asked why subsequent flights to Delaware and Illinois had

been postponed, a spokesperson for Defendant DeSantis said that Florida had been busy dealing

with the aftermath of Hurricane Ian, which struck the state in late September 2022, but confirmed

that “the immigration relocation program remains active.”51




50
  Timothy H.J. Nerozzi, DeSantis-linked Plan to Fly Migrants to Delaware Falls Through: Report, Fox News (Sept.
22, 2022), https://www.foxnews.com/us/desantis-linked-plan-fly-migrants-delaware-falls-through-report.
51
   Associated Press, DeSantis Continuing Migrant Flights to Delaware, Other Democratic States, Delaware Online
(Oct. 17, 2022), https://www.delawareonline.com/story/news/nation/2022/10/17/desantis-continuing-migrant-flights-
to-delaware-democratic-states/69567961007/.
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        196.      Defendant DeSantis himself promised in a press conference, “We have a whole

infrastructure in place now. There’s going to be a lot more that’s happening. It’s not just flights.”52

Elsewhere he has confirmed, “I have $12 million for us to use and so we are going to use it and

you’re gonna see more and more.” He continued, “I’m going to make sure that we exhaust all

those funds.”53

                                       CLASS ALLEGATIONS

        197.      Pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3), Individual Plaintiffs

seek to certify a class comprising all immigrants who have been, or will in the future be,

transported across state lines by Defendants by means of fraud and misrepresentation.

        198.      A class action is the only practicable means by which Individual Plaintiffs and the

Class members can seek redress for Defendants’ illegal and unconstitutional practice of

transporting immigrants such as Individual Plaintiffs and Class members across state lines by

means of fraud and misrepresentation for the purpose of self-serving political stunts.

        199.      As set forth below, this action satisfies the numerosity, commonality, typicality,

and adequacy requirements of Federal Rule of Civil Procedure 23(a). This action also satisfies the

requirements of Federal Rule of Civil Procedure 23(b)(3).

        200.      Numerosity:     The Class currently comprises Individual Plaintiffs and the

approximately 46 other immigrants that Defendants transported to Martha’s Vineyard under false

pretenses. The class plainly meets the numerosity requirement in its present composition.




52
  WPTV News – FL Palm Beaches and Treasure Coast, Gov. Ron DeSantis Talks Migrants, Biden Immigration
Policies, YouTube, https://www.youtube.com/watch?v=GVzPDHQP8xw (last visited Nov. 3, 2022).
53
  Alexandra Hutzler, DeSantis, White House Trade More Fire over Migrant Drop-Offs, ABC News (Sept. 16, 2022),
https://abcnews.go.com/Politics/desantis-white-house-trade-fire-migrant-drop-offs/story?id=90029613.
                                                     60
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       201.    Further, the size of the Class is likely to increase. Defendants have insisted that

they will continue to fly immigrants to “sanctuary” jurisdictions. Those threats are not idle:

Defendant Vertol has an active contract with Defendant FDOT for immigrant “relocation” and has

already been paid for two more flights, one of which was canceled only at the last minute after

approximately 20 immigrants were recruited by Defendants through similarly deceitful means.

       202.    Moreover, joinder is impracticable. Many of the Class members, who were

transported to Martha’s Vineyard against their will, intend to relocate to other parts of the country.

The members of the proposed Class also lack the financial resources to bring an independent action

or be joined in this action. In fact, it is the very precariousness of Individual Plaintiffs’ and Class

members’ circumstances that caused Defendants to target them in the first place. Future members

of the Class are likely to be similarly indigent.

       203.    Commonality: Individual Plaintiffs and the other Class members were harmed by

the same Defendants perpetrating the same scheme in the same manner, and consequently

questions of law and fact common to the entire class abound. Common questions of fact include,

but are not limited to:

           a. Whether Defendants intentionally provided Class Plaintiffs with false or

               misleading information about who was behind the flights, their true motivation, the

               destination of the flights, and the benefits available to them upon their arrival;

           b. Whether Defendants knew that they were providing Class Plaintiffs with false or

               misleading information about who was behind the flights, Defendants’ true

               motivation, the destination of the flights, and the benefits available to them upon

               their arrival;




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             c. Whether Defendants transported Class Plaintiffs to Martha’s Vineyard from outside

                 the State of Florida;

             d. Whether Defendants spent funds appropriated to Defendant FDOT by Defendant

                 State of Florida to fund and perpetrate the scheme;

             e. Whether Defendants targeted Plaintiffs because of their common race, ethnicity,

                 and/or national origin;

             f. Whether Defendants targeted Plaintiffs because of their status as non-citizens.

Common questions of law include, but are not limited to:

             a. Whether Defendants’ relocation program violates the U.S. Constitution;

             b. Whether Defendants’ relocation program violates federal anti-discrimination laws;

             c. Whether Defendants’ relocation program is preempted by federal law and the U.S.

                 Constitution;

             d. Whether Defendants falsely imprisoned Class Plaintiffs when they confined them

                 to a plane and then to an isolated island;

             e. Whether Defendants conspired to perpetrate the scheme against Class Plaintiffs.

          204.   Typicality: The claims of Individual Plaintiffs are typical of the claims of the

proposed Class as a whole. Individual Plaintiffs’ claims arise from a scheme perpetrated against

the entire Class, and accordingly each Class member possesses the same claims as Individual

Plaintiffs. Future Class members subjected to Defendants’ scheme will also possess similar

claims.

          205.   Because Individual Plaintiffs and the proposed Class were harmed by the same

illegal and unconstitutional policy, carried out with funds allocated by the same Florida statute,

Defendants will likely assert similar defenses against Individual Plaintiffs and proposed Class

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members. The failure or success of those defenses will have a similar effect upon each proposed

Class member’s claims.

       206.    Adequacy: Individual Plaintiffs will fairly and adequately represent the interests of

the proposed Class. Individual Plaintiffs and proposed Class members share a common interest in

Defendants being found liable and, upon a finding of liability, Individual Plaintiffs and Class

members will be entitled to similar relief.

       207.    Individual Plaintiffs have no interests separate from, or in conflict with, those of

the proposed Class they seek to represent.

       208.    Rule 23(b)(3): Common questions of law and fact predominate over any questions

affecting only individual Class members. Defendants’ liability will be determined upon an

essentially identical factual and legal basis as to each proposed Class member.

       209.    Further, a class action is superior to other methods for fairly and efficiently

adjudicating this controversy. The factual and legal similarity of the claims and the Class

members’ unfamiliarity with the U.S. legal system support litigation on a classwide basis instead

of via individual actions. Adjudicating the Class members’ claims in a single forum will also

promote judicial efficiency and afford prompt redress for the harm suffered by the Class members.

Finally, no other litigation concerning the controversy has been commenced by or against the Class

members, and the proposed Class presents no unusual administrative difficulties.

       210.    Rule 23(g): Plaintiffs respectfully request that the undersigned be appointed as

Class Counsel. The undersigned attorneys from Lawyers for Civil Rights and Foley Hoag LLP

have experience in class action litigation in federal courts involving complex civil matters and

possess knowledge of the relevant constitutional, statutory, and common law. Counsel also have

the resources, expertise, and experience necessary to prosecute this action.

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                                     CLAIMS FOR RELIEF

                                             COUNT I

  Violation of Fourteenth Amendment to the U.S. Constitution, Substantive Due Process
                             Pursuant to 42 U.S.C. § 1983

 (Brought Against Defendants DeSantis, Perdue, Keefe, Uthmeier, Montgomerie, Huerta,
                                     and Vertol)

       211.    Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

       212.    The Fourteenth Amendment to the U.S. Constitution prohibits states from depriving

“any person of life, liberty, or property, without due process of law.”

       213.    Defendants acted under color of state law to deprive Class Plaintiffs of liberty

without due process of law.

       214.    Defendants preyed upon Class Plaintiffs, exploiting them in a scheme to boost the

national profile of Defendant DeSantis and manipulate them for political ends. Defendants knew

or should have known that Class Plaintiffs were vulnerable and destitute, having crossed the U.S.

border with Mexico with little to no money or possessions and without concrete prospects of

employment. Defendants knew or should have known that these immigrants would be particularly

desperate for humanitarian aid.

       215.    Defendants constructed a scheme in which they told Class Plaintiffs that they could

arrange transportation for them to a large city in the Northeast where there would be jobs,

humanitarian services, and benefits for recent immigrants awaiting them. This was a lie.

       216.    Defendants did not intend to transport Class Plaintiffs to a large city in the

Northeast and instead intended to transport them to Martha’s Vineyard. Defendants also had no



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intention of lining up jobs, humanitarian services, or benefits for Class Plaintiffs and had in fact

not taken any steps to procure such services for Class Plaintiffs in Martha’s Vineyard.

       217.    Moreover, Defendants did not reveal to Class Plaintiffs, and affirmatively

concealed from them, that Florida government officials were behind the transport and that the true

purpose behind the transport was to pull off a political stunt to raise Defendant DeSantis’s national

profile and paint him as tough on immigration.

       218.    Class Plaintiffs accepted Defendants’ offer of transportation to the place that

Defendants represented would provide jobs, services, and benefits. After Class Plaintiffs boarded

Defendants’ plane, however, they learned for the first time that they would be taken to Martha’s

Vineyard, not a large city.

       219.    By the time that Class Plaintiffs learned the true destination of the planes, they had

no ability to refuse transportation and were taken against their will to Martha’s Vineyard,

Massachusetts.

       220.    When they arrived at Martha’s Vineyard, they were unable to leave the island

because the island is accessible only by plane or boat, and they lacked the resources to arrange for

transportation off the island.

       221.    Defendants’ actions in manipulating Class Plaintiffs and transporting them to

Martha’s Vineyard constitute an egregious abuse of power that deprived Class Plaintiffs of their

liberty in a manner that shocks the conscience.

       222.    Defendants’ calculated scheme, undertaken in bad faith and with wanton

indifference to Class Plaintiffs’ well-being, deprived Class Plaintiffs of their most basic liberty

interests, including, but not limited to, their freedom of movement and their human dignity.




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       223.    These actions deprived Class Plaintiffs of their liberty interest without due process

of law, and Class Plaintiffs suffered harm as a direct result.

                                             COUNT II

  Violation of Fourteenth Amendment to the U.S. Constitution, Equal Protection Clause
                             Pursuant to 42 U.S.C. § 1983

 (Brought Against Defendants DeSantis, Perdue, Keefe, Uthmeier, Montgomerie, Huerta,
                                     and Vertol)

       224.    Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

       225.    The Fourteenth Amendment to the U.S. Constitution provides that “No State shall

. . . deny to any person within its jurisdiction the equal protection of the laws.”

       226.    Defendants intentionally and invidiously targeted Class Plaintiffs because of their

race, ethnicity, national origin, and/or status as non-citizens. They specifically preyed on recent

immigrants—and in particular, on recent Latinx immigrants from Venezuela and Peru—because

they believed that transporting Latinx immigrants to Martha’s Vineyard would fuel greater

political outcry about unauthorized crossings at the southern border than if white or other non-

Latinx immigrants were targeted and because they believed that such immigrants would lack

resources and be susceptible to their false offers of jobs, services, and benefits.

       227.    On information and belief, Defendants have not approached any non-Latinx

individuals to be transported via Florida’s Relocation Program.

       228.    On information and belief, Defendants have not approached any recent immigrants

from countries outside South America to be transported via Florida’s Relocation Program.

       229.    On information and belief, Defendants have not approached any U.S. citizens to be

transported via Florida’s Relocation Program.

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       230.     At all relevant times, Defendants acted under color of state law, within the meaning

of 42 U.S.C. § 1983.

       231.     Class Plaintiffs have suffered harm as a direct and proximate result of Defendants’

actions.

                                            COUNT III

                                  Violation of 42 U.S.C. § 2000d

    (Brought Against Defendants DeSantis, Perdue, Keefe, State of Florida, and FDOT)

       232.     Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

       233.     Pursuant to 42 U.S.C. § 2000d, “No person in the United States shall, on the ground

of race, color, or national origin, be . . . subjected to discrimination under any program or activity

receiving Federal financial assistance.”

       234.     Defendant FDOT receives federal financial assistance, including but not limited to,

through the Coronavirus State Fiscal Recovery Fund.

       235.     Defendant State of Florida was allocated and accepted in excess of $8 billion in

SLRF funds under the state-recovery provisions of the ARPA. Defendant State of Florida was

allocated and accepted in excess of $1 billion in SLRF funds under the local-recovery provisions

of the ARPA to disburse to 355 cities, towns, and townships in the State.

       236.     Defendant State of Florida and Defendant FDOT also receive federal funding from

various other sources. For example, Defendant FDOT receives federal funds disbursed by the

Federal Highway Trust Fund, in addition to federal grants, including $15 million in funding for a

truck parking facility pursuant to the Infrastructure Investments and Jobs Act, Pub. L. 117-58.




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       237.     Defendants used federal financial assistance when they directed $12,000,000 from

the State of Florida’s Coronavirus State Fiscal Recovery Fund toward their Relocation Program.

       238.     Defendants intentionally and invidiously targeted Class Plaintiffs because of their

race, ethnicity, national origin, and/or status as non-citizens. They specifically preyed on recent

immigrants—and in particular, on recent Latinx immigrants from Venezuela and Peru—because

they believed that transporting Latinx immigrants to Martha’s Vineyard would fuel greater

political outcry about unauthorized crossings at the southern border than if white or other non-

Latinx immigrants were targeted, and because they believed that such immigrants would lack

resources and be susceptible to their false offers of jobs, services, and benefits.

       239.     On information and belief, Defendants have not approached any non-Latinx

individuals to be transported via Florida’s Relocation Program.

       240.     On information and belief, Defendants have not approached any recent immigrants

from countries outside South America to be transported via Florida’s Relocation Program.

       241.     On information and belief, Defendants have not approached any U.S. citizens to be

transported via Florida’s Relocation Program.

       242.     Class Plaintiffs have suffered harm as a direct and proximate result of Defendants’

actions.

                                            COUNT IV

                                            Preemption

    (Brought Against Defendants DeSantis, Perdue, Keefe, FDOT, and State of Florida)

       243.     Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.




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       244.    The Supremacy Clause, Article VI, Clause 2 of the U.S. Constitution, provides that

“This Constitution, and the Laws of the United States which shall be made in Pursuance thereof

. . . shall be the supreme Law of the Land; and the Judges in every State shall be bound thereby,

any Thing in the Constitution or Laws of any State to the Contrary notwithstanding.”

       245.    The Supremacy Clause mandates that federal law preempt state law in any area

over which Congress expressly or impliedly has reserved exclusive authority or which is

constitutionally reserved to the federal government, including where state law conflicts or

interferes with federal law.

       246.    The authority to regulate immigration is exclusively reserved to the federal

government and derives from various constitutional and statutory sources. Under Article I,

Section 8, Clause 3 of the U.S. Constitution, Congress is vested with exclusive power over

immigration and naturalization. Under that and other constitutional and statutory authority, the

federal government has exclusive authority to enact and to enforce regulations concerning which

immigrants to admit, exclude, remove, or allow to remain in the United States. The federal

government also has exclusive authority over the terms and conditions of an immigrant’s stay in

the United States. State governments do not have these powers.

       247.    Pursuant to its authority over immigration and naturalization, the federal

government has established a comprehensive system of laws, regulations, procedures, and

administrative agencies that determine whether and under what conditions an immigrant may enter

and reside in the United States. See, e.g., 8 U.S.C. §§ 1101 et seq.

       248.    Further, under Article I, Section 8, Clause 3 of the U.S. Constitution, Congress

possesses broad powers concerning foreign relations, including the power “[t]o regulate




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Commerce with foreign nations.” The Constitution vests certain other powers concerning foreign

relations in the President. See generally U.S. Const., art. II, § 2.

       249.    Section 185 of Florida’s General Appropriations Act, as applied to Class Plaintiffs,

conflicts with those and other federal laws, regulations, and policies; usurps those and other powers

constitutionally vested in the federal government exclusively; attempts to legislate in fields

occupied exclusively by the federal government; imposes burdens not permitted by, and contrary

to, federal law upon noncitizens whose residence in the United States is authorized by the federal

government; and unilaterally burdens the federal government’s resources and processes, each in

violation of the Supremacy Clause.

       250.    For instance, Defendants’ enforcement and application of Section 185 of Florida’s

General Appropriations Act, including but not limited to paying for, coordinating, and executing

the travel of immigrants who are under the active management of federal immigration authorities

to various locations across the country through false representations, directly conflicts with and

attempts to supplant federal immigration law.

       251.    At all relevant times, Defendants DeSantis, Perdue, State of Florida, FDOT, and

Keefe were acting under color of state law.

       252.    Plaintiffs suffered harm as a direct and proximate result of Defendants’ actions.

                                              COUNT V

   Violation of Fourteenth Amendment to the U.S. Constitution; Procedural Due Process
                              Pursuant to 42 U.S.C. § 1983

 (Brought Against Defendants DeSantis, Perdue, Keefe, Uthmeier, Montgomerie, Huerta,
                                     and Vertol)

       253.    Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

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       254.    The Fourteenth Amendment to the U.S. Constitution provides that no state shall

“deprive any person of life, liberty, or property, without due process of law.”

       255.    Class Plaintiffs have a protected liberty and/or property interest in having their

federal immigration claims proceed without state interference.

       256.    Defendants deceived Class Plaintiffs and stranded them on Martha’s Vineyard,

thereby interfering with Class Plaintiffs’ ability to participate in their federal immigration

proceedings. Martha’s Vineyard is an island that can be reached only by air or water travel. By

leaving Class Plaintiffs on Martha’s Vineyard with no resources to arrange for such travel,

Defendants made it significantly more difficult—and in fact, nearly impossible—for Class

Plaintiffs to travel to their required immigration proceedings. Moreover, Class Plaintiffs were

required to update their addresses of residence with relevant immigration authorities. Class

Plaintiffs’ unwilling transport to Martha’s Vineyard required them to undergo the additional

procedure of updating immigration authorities on their address of residence. These unwarranted

interventions in Class Plaintiffs’ proceedings deprived Class Plaintiffs of their interests in

unimpeded immigration proceedings.

       257.     Defendants knew that moving Class Plaintiffs across the country could affect their

immigration proceedings: they provided Class Plaintiffs with U.S. Citizenship and Immigration

Services’ Form AR-11, an immigration form used to process changes of applicants’ addresses with

USCIS. That form is necessary but not sufficient to alert federal authorities to a change in an

immigrant’s address.

       258.    Defendants did not provide Class Plaintiffs with any hearing or proceeding of any

kind before deceiving them into moving across the country with potentially disastrous

consequences to their immigration proceedings.

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       259.     At all relevant times, Defendants were acting under color of state law.

       260.     Class Plaintiffs have been harmed as a direct and proximate result of Defendants’

conduct.

                                            COUNT VI

           Violation of Fourth Amendment to the U.S. Constitution, Unlawful Seizure
                                 Pursuant to 42 U.S.C. § 1983

 (Brought Against Defendants DeSantis, Perdue, Keefe, Uthmeier, Montgomerie, Huerta,
                                     and Vertol)

       261.     Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

       262.     The Fourth Amendment to the U.S. Constitution prohibits “unreasonable searches

and seizures.” U.S. Const. amend. IV.

       263.     Defendants falsely represented to Class Plaintiffs that they would arrange for them

to fly to large cities in the Northeast where Class Plaintiffs would find jobs and supportive

resources waiting for them. Defendants affirmatively concealed the true purpose of the flights and

who was funding them.

       264.     Class Plaintiffs were destitute and had arrived in a foreign country without

employment prospects or supportive resources. Class Plaintiffs were particularly vulnerable and

susceptible to Defendants’ false promises. Under these false pretenses, Class Plaintiffs accepted

Defendants’ offers of transportation to large cities in the Northeast.       But for Defendants’

intentional deception, Class Plaintiffs would not have boarded the planes that were procured and

controlled by Defendants, where Class Plaintiffs’ freedom of movement was constrained.

       265.     While the planes were midflight, Class Plaintiffs discovered that Defendants were

not sending them to a large city in the Northeast, but to Martha’s Vineyard, Massachusetts. By

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the time that Class Plaintiffs learned the true destination of the plane, Class Plaintiffs could not

leave the plane or decline transportation.

       266.     Through these actions, Defendants terminated Class Plaintiffs’ constitutionally

protected freedom of movement.

       267.     At all relevant times, Defendants acted “under color of state law” within the

meaning of 42 U.S.C. § 1983.

       268.     Class Plaintiffs have suffered harm as a direct and proximate result of Defendants’

actions.

                                               COUNT VII

                   Violation of 42 U.S.C. § 1985(3); Civil Rights Conspiracy

 (Brought Against Defendants DeSantis, Perdue, Keefe, Uthmeier, Montgomerie, Huerta,
                                     and Vertol)

       269.     Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

       270.     Defendants agreed to participate in a common scheme to deprive Class Plaintiffs of

their civil rights, including but not limited to equal protection of the laws based on their race,

national origin, and status as non-citizens.

       271.     Defendants DeSantis, Keefe, Uthmeier, and Perdue, acting on behalf of FDOT,

initiated the Florida Relocation Program with the intention of deceiving immigrants into accepting

transport to northern cities so that they could pull off a political stunt about immigration that would

raise Defendant DeSantis’s political profile.

       272.     To that end, Defendant FDOT, under the leadership of Defendant Perdue, entered

a contract with Defendant Vertol, led by Defendant Montgomerie, to transport immigrants from

San Antonio, Texas, to Martha’s Vineyard, Massachusetts.
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       273.    On information and belief, Defendant Vertol engaged Defendant Huerta to recruit

immigrants to be transported to Martha’s Vineyard.

       274.    Defendants tasked Defendant Huerta with recruiting recent Latinx immigrants,

including Class Plaintiffs, to be flown to Martha’s Vineyard under false pretenses. Specifically,

Defendant Huerta falsely promised Class Plaintiffs that they would be traveling to large cities and

that there would be jobs, services, and benefits waiting for them upon arrival. Defendants also

affirmatively concealed the true purpose of the flights they offered Class Plaintiffs—to capture

headlines and use immigration to burnish Defendant DeSantis’s political credentials on a national

scale—and who was behind the flights.

       275.    In fact, Defendants took Class Plaintiffs to Martha’s Vineyard, and there were no

jobs, services, or benefits awaiting them. Defendants did not alert anyone on Martha’s Vineyard

with the capacity to provide jobs, services, or benefits of Class Plaintiffs’ impending arrival.

       276.    Defendants intended for Class Plaintiffs to be stranded without resources on

Martha’s Vineyard to send a message about immigration at the U.S. southern border and to raise

Defendant DeSantis’s political profile.

       277.    They targeted Class Plaintiffs because of their race, ethnicity, national origin,

and/or status as non-citizens and conspired to deprive them of equal protection of the laws.

       278.    Class Plaintiffs have been harmed as a direct and proximate result of Defendants’

conspiracy.




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                                            COUNT VIII

                                        False Imprisonment

 (Brought Against Defendants DeSantis, Perdue, Keefe, Uthmeier, Montgomerie, Huerta,
                                     and Vertol)

       279.      Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

       280.      Defendants falsely represented to Class Plaintiffs that they would arrange for their

transfer to large cities in the Northeast where they would have jobs and supportive resources

waiting for them. Defendants also affirmatively concealed the true purpose of the flights they

offered Class Plaintiffs—to capture headlines and use immigration to burnish Defendant

DeSantis’s political credentials on a national scale—and who was behind the flights.

       281.      Class Plaintiffs were destitute and had arrived in a foreign country without

employment prospects or supportive resources. Class Plaintiffs were particularly vulnerable and

susceptible to Defendants’ false promises.        Unaware of Defendants’ false pretenses, Class

Plaintiffs accepted Defendants’ offers of transportation to large cities in the Northeast.

       282.      Class Plaintiffs discovered that Defendants were not sending them to a large city in

the Northeast, but to Martha’s Vineyard, Massachusetts, only after they had boarded the planes

that Defendants procured and controlled.

       283.      By the time that Class Plaintiffs learned the true destination of the planes, Class

Plaintiffs could not leave the planes or decline transportation.

       284.      Defendants arranged for Class Plaintiffs to be taken to Martha’s Vineyard, which

is an island in the Atlantic Ocean that is surrounded on all sides by water. It is accessible only via

boat or plane, and there are no bridges or tunnels connecting Martha’s Vineyard to the mainland

United States.
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       285.    Class Plaintiffs did not have the resources to arrange for a boat or plane to leave

Martha’s Vineyard. Defendants stranded Class Plaintiffs on the island with no means of leaving.

       286.    Class Plaintiffs have been harmed as a direct and proximate result of Defendants’

conspiracy.

                                            COUNT IX

                                           Fraud/Deceit

 (Brought Against Defendants DeSantis, Perdue, Keefe, Uthmeier, Montgomerie, Huerta,
                                     and Vertol)

       287.    Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

       288.    Defendants represented to Class Plaintiffs that they had arranged to transport Class

Plaintiffs to a large city in the Northeast, where they Class Plaintiffs would find jobs, housing,

services, and resources waiting for them. Each of these representations was false.

       289.    Defendants affirmatively concealed the true purpose of Class Plaintiffs’ transport,

which was for Defendant DeSantis to gain attention via a political stunt about immigration, and

who was behind the flights.

       290.    Defendants’ false representations induced Class Plaintiffs to agree to depart Texas,

board the planes, and sign sham “Official Consent to Transport” forms.

       291.    Defendants made these representations to Class Plaintiffs so that Class Plaintiffs

would agree to let Defendants transport them on planes that were in fact headed to Martha’s

Vineyard as part of a political theatre to raise Defendant DeSantis’s public stature.

       292.    Class Plaintiffs, who were destitute and vulnerable, believed Defendants’

representations and relied on them in agreeing to board planes that Defendants had chartered. They

did not learn that the planes were taking them to Martha’s Vineyard until the planes were in flight.
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       293.    Defendants did not arrange for jobs, services, or resources for Class Plaintiffs on

Martha’s Vineyard. Defendants did not alert anyone who could provide Class Plaintiffs with jobs,

services, or resources to the fact that two private planes carrying nearly 50 immigrants would be

landing in Martha’s Vineyard.

       294.    Instead, Defendants alerted Fox News that the immigrants would be landing on

Martha’s Vineyard so that Defendant DeSantis would receive public credit for sending the

immigrants to Martha’s Vineyard.

       295.    Defendants stranded Class Plaintiffs on Martha’s Vineyard with no jobs, services,

benefits, or way to leave the island.

       296.    Class Plaintiffs were harmed as a direct and proximate result of Defendants’

conduct.

                                            COUNT X

                           Intentional Infliction of Emotional Distress

 (Brought Against Defendants DeSantis, Perdue, Keefe, Uthmeier, Montgomerie, Huerta,
                                     and Vertol)

       297.    Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

       298.    Defendants exploited Class Plaintiffs as part of a political scheme. Defendants

targeted Class Plaintiffs because they were vulnerable, having arrived in the United States after

arduous journeys with little to no money. Defendants falsely promised Class Plaintiffs that they

would take them to large cities in the Northeast, where they would be provided jobs, services, and

benefits. All of this was false.




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       299.    Defendants also affirmatively concealed the true purpose of the flights they offered

Class Plaintiffs—to callously use immigrants from Latinx countries to send a political message

that would boost Defendant DeSantis’s national profile—and who was behind the flights.

       300.    Defendants stranded Class Plaintiffs on an unfamiliar island and, rather than

arrange for jobs, services, or benefits, arranged for Fox News to film their unexpected arrival on

Martha’s Vineyard.

       301.    Defendants knew or should have known that stranding Class Plaintiffs on Martha’s

Vineyard without the jobs, services, or benefits they promised to Class Plaintiffs would cause Class

Plaintiffs emotional distress.

       302.    By targeting a particularly vulnerable population and stranding them on an island

with no support to pull off a political stunt and create headlines for Defendant DeSantis,

Defendants engaged in conduct that was extreme and outrageous.

       303.    Class Plaintiffs were distraught upon learning Defendants were taking them to

Martha’s Vineyard, and not a large city, against their will. Their distress intensified when they

learned that no one on Martha’s Vineyard was expecting them and that there were not jobs,

resources, or services waiting for them.

       304.    Defendants’ lies and outrageous conduct caused Class Plaintiffs’ distress.

       305.    Class Plaintiffs were harmed as a direct and proximate result of Defendants’

conduct.




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                                            COUNT XI

                           Negligent Infliction of Emotional Distress

                                (Brought Against All Defendants)

       306.    Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

       307.    Defendants targeted Class Plaintiffs because they were recent immigrants from

South America with little to no money and resources. Defendants specifically sought out Class

Plaintiffs because they were destitute and promised them jobs, services, and benefits. In fact,

Defendants undertook to house and feed Class Plaintiffs prior to their transport to Martha’s

Vineyard and provide them with basic necessities like toiletries. Defendants put Class Plaintiffs

up in a hotel that was on the edge of San Antonio, removing them from their support networks and

taking them out of walking distance of restaurants and grocery stores or pharmacies. In so doing,

Defendants voluntarily assumed a duty of care to Class Plaintiffs.

       308.    Defendants breached that duty of care. They lied to Class Plaintiffs to induce them

to board planes that were headed for Martha’s Vineyard rather than a large city in the Northeast,

as they had promised. They further did not arrange for any jobs, services, or benefits when Class

Plaintiffs arrived in Martha’s Vineyard, despite the fact that Class Plaintiffs had relied on

Defendants’ promises to do so. Instead, Defendants left Class Plaintiffs stranded on an island with

no means of leaving the island and no food or shelter.

       309.    Defendants also affirmatively concealed the true purpose of the flights—to

callously use immigrants from Latinx countries to send a political message that would boost

Defendant DeSantis’s national profile—and who was behind the flights.




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        310.    Class Plaintiffs were distraught upon learning Defendants were taking them to

Martha’s Vineyard, and not a large city in the Northeast, against their will. Their distress

intensified when they learned that no one on Martha’s Vineyard was expecting them and there

were not jobs, resources, or services waiting for them, but instead they were being used as part of

a political stunt.

        311.    Defendants’ deceit caused Class Plaintiffs mental suffering that required mental

health counseling and treatment. In addition, Class Plaintiffs suffered dignitary harms upon

learning that Defendants had manipulated them as part of a political maneuver.

        312.    Defendants’ conduct also caused Class Plaintiffs to suffer physical manifestations

of their emotional harm, including but not limited to headaches, difficulty sleeping, disorientation,

and behavioral changes.

        313.    Class Plaintiffs’ trauma upon discovering that Defendants had used them for

political gain was objectively reasonable.

        314.    Defendants State of Florida and FDOT have waived sovereign immunity for actions

to recover damages in tort caused by the negligent acts or omissions of state or agency employees.

Fla. Stat. § 768.28(1).

        315.    Class Plaintiffs suffered harm as a direct and proximate result of Defendants’

conduct.

                                             COUNT XII

                                         Civil Conspiracy

 (Brought Against Defendants DeSantis, Perdue, Keefe, Uthmeier, Montgomerie, Huerta,
                                     and Vertol)

        316.    Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.
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       317.    Defendants agreed to participate in a common scheme to commit the above alleged

torts and constitutional and statutory deprivations against Class Plaintiffs.

       318.    Defendants DeSantis, Keefe, Uthmeier, and Perdue carried out their scheme with

the intention of deceiving immigrants into accepting transport and capitalizing on political

dissention over immigration policies to lift Defendant DeSantis’s political profile.

       319.    To that end, Defendant FDOT, under the leadership of Defendant Perdue, entered

a contract with Defendant Vertol, under the leadership of Defendant Montgomerie, to transport

immigrants from San Antonio, Texas, to Martha’s Vineyard.

       320.    On information and belief, Defendant Vertol engaged Defendant Huerta to recruit

immigrants for Defendants to transport to Martha’s Vineyard.

       321.    Defendants tasked Defendant Huerta with recruiting recent Latinx immigrants for

Defendants to fly to Martha’s Vineyard under false pretenses. Specifically, Defendant Huerta

falsely promised Class Plaintiffs that they would be traveling to a large city in the Northeast and

that there would be jobs, services, and benefits waiting for them upon arrival. Defendants also

affirmatively concealed the true purpose of the flights—to generate national headlines for

Defendant DeSantis with a stunt about immigration—and who was behind the flights.

       322.    In fact, Defendants took Class Plaintiffs to Martha’s Vineyard, and Defendants did

not arrange for any jobs, services, or benefits for Class Plaintiffs on Martha’s Vineyard.

Defendants did not even alert anyone with the capacity to provide Class Plaintiffs with jobs,

services, or benefits on Martha’s Vineyard of Class Plaintiffs’ arrival.

       323.    Defendants intended for Class Plaintiffs to be stranded without resources, food, or

shelter on Martha’s Vineyard to convey a political message about the impacts of immigration on

border states and to raise Defendant DeSantis’s political profile.

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       324.    Class Plaintiffs have been harmed as a direct and proximate result of Defendants’

conspiracy.

                                           COUNT XIII

                                       Aiding and Abetting

 (Brought Against Defendants DeSantis, Perdue, Keefe, Uthmeier, Montgomerie, Huerta,
                                     and Vertol)

       325.    Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

       326.    Defendants agreed to participate in a common scheme to commit the above alleged

torts and constitutional and statutory deprivations against Class Plaintiffs.

       327.    Defendants DeSantis, Keefe, Uthmeier, and Perdue carried out the Florida

Relocation Program with the intention of deceiving immigrants into accepting transport, thereby

boosting Defendant DeSantis’s political profile and capitalizing on political sentiment regarding

immigration policies.

       328.    To that end, Defendant FDOT, under the leadership of Defendant Perdue, entered

a contract with Defendant Vertol, under the leadership of Defendant Montgomerie, to transport

immigrants from San Antonio, Texas, to Martha’s Vineyard.

       329.    On information and belief, Defendant Vertol engaged Defendant Huerta to recruit

immigrants for Defendants to transport to Martha’s Vineyard.

       330.    Defendants tasked Defendant Huerta with recruiting recent immigrants from South

America—and predominantly from Venezuela—for Defendants to fly to Martha’s Vineyard under

false pretenses. Specifically, Defendant Huerta falsely promised Class Plaintiffs that they would

be traveling to a large city in the Northeast and that there would be jobs, services, and benefits

waiting for them upon arrival.
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       331.    Defendants also affirmatively concealed the true purpose of the flights they offered

to Class Plaintiffs—to callously use immigrants from Latinx countries to send a political message

that would boost Defendant DeSantis’s national profile—and who was behind the flights.

       332.    Defendants took Class Plaintiffs to Martha’s Vineyard, and Defendants did not

arrange for any jobs, services, or benefits for Class Plaintiffs on Martha’s Vineyard. Defendants

did not even alert anyone with the capacity to provide Class Plaintiffs jobs, services, or benefits

on Martha’s Vineyard of Class Plaintiffs’ arrival.

       333.    Defendants intended for Class Plaintiffs to be stranded without resources, food, or

shelter on Martha’s Vineyard to convey a political message about the impacts of immigration on

border states and to raise Defendant DeSantis’s political profile.

       334.    Defendants have provided substantial assistance and encouragement to each other

in carrying out the above alleged torts and constitutional violations. Defendants were in contact

with each other at all times during the execution of the scheme, and thus had knowledge of each

other’s tortious acts and constitutional violations.

       335.    Class Plaintiffs have been harmed as a direct and proximate result of Defendants’

conspiracy.

                                           COUNT XIV

                                             Ultra Vires

                  (Brought Against Defendants DeSantis, Perdue, and Keefe)

       336.    Class Plaintiffs re-allege and incorporate each and every allegation made in the

preceding paragraphs as if fully set forth herein.

       337.    Section 185 of the Appropriations Act appropriates funds for the “implement[ation]

[of] a program to facilitate the transport of unauthorized aliens from this state consistent with

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federal law.” (emphasis added) Neither the Appropriations Act nor any other Florida statute

authorizes Defendants to facilitate the transport of authorized immigrants or the transport of

immigrants—whether authorized or unauthorized—from states other than Florida.

       338.    When Defendants arranged for Class Plaintiffs to be flown to Martha’s Vineyard,

Class Plaintiffs were in Texas. Defendants knew that Class Plaintiffs were in Texas, not Florida.

Moreover, Defendants had no reason to believe that Class Plaintiffs had planned or intended to go

to Florida. On information and belief, until Defendants transported Class Plaintiffs to Florida,

none of them had ever been to the state.

       339.    Further, at all relevant times, the presence of all Class Plaintiffs in the United States

was authorized by the federal government. Class Plaintiffs were processed by federal immigration

officials and released from federal custody and are authorized to remain in the country for the

pendency of their immigration proceedings. Defendants knew that Class Plaintiffs were authorized

to be present in the United States because, upon information and belief, they directed Defendant

Huerta to check Class Plaintiffs’ immigration paperwork.

       340.    Nevertheless, without any authority whatever and outside the scope of the powers

delegated to them by Section 185 of the Appropriations Act, Defendants facilitated the transport

of Class Plaintiffs from Texas to Martha’s Vineyard. Defendants paid for the flights and related

costs with money appropriated to Defendant FDOT from the general revenue fund of Defendant

State of Florida.

       341.    Defendants’ conduct was not based upon an incorrect evaluation of state law or a

mistaken assessment of the facts and circumstances. Nor was it simply an erroneous exercise of

delegated authority. Rather, Defendants knew that Class Plaintiffs were located in Texas and were

authorized to remain in the United States, but chose to disregard and ignore the limits of their

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delegated authority and, in pursuit of their political goals, embark upon an ultra vires course of

conduct lacking any basis or justification in Florida law.

        342.    Plaintiffs have suffered harm as a direct and proximate result of Defendants’

actions.

                                      PRAYER FOR RELIEF

Wherefore, Plaintiffs respectfully request the following relief:

    A. A preliminary and permanent injunction enjoining Defendants, their officials, agents,

        employees, assigns, and all persons acting in concert or participating with them from

        inducing immigrants to travel across state lines by fraud and misrepresentation;

    B. A declaration pursuant to 28 U.S.C. §§ 2201 and 2202 that Defendants’ practice of

        inducing immigrants to travel across state lines by fraud and misrepresentation is unlawful,

        invalid, and ultra vires;

    C. An award of nominal, compensatory and punitive damages to the Individual and Class

        Plaintiffs, in an amount to be determined at trial;

    D. An order certifying a Class of all Plaintiffs similarly situated;

    E. An order awarding Class Plaintiffs attorneys’ fees, costs, and expenses pursuant to 42

        U.S.C. § 1988 and any other applicable law; and

    F. Such other and additional relief as the Court deems equitable, just, and proper.

                                          JURY DEMAND

Class Plaintiffs request a trial by jury on all claims so triable.




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Dated: November 29, 2022                  Respectfully submitted,

                                          /s/ Kenneth S. Leonetti
                                          Kenneth S. Leonetti (BBO # 629515)
                                          Foley Hoag LLP
                                          155 Seaport Boulevard
                                          Boston, MA 02210
                                          (617) 832-1000
                                          ksl@foleyhoag.com

                                          Oren Sellstrom (BBO # 569045)
                                          Iván Espinoza-Madrigal (BBO # 708080)
                                          Jacob Love (BBO # 699613)
                                          Mirian Albert (BBO # 710093)
                                          Lawyers for Civil Rights
                                          61 Batterymarch Street, 5th Floor
                                          Boston, MA 02110
                                          (617) 482-1145
                                          osellstrom@lawyersforcivilrights.org

                                          Madeleine K. Rodriguez (BBO # 684394)
                                          Matthew E. Miller (BBO # 655544)
                                          Nicole Smith (BBO # 710314) (application
                                          for admission pending)
                                          Matthew Casassa (BBO # 707012)
                                          (application for admission forthcoming)
                                          Foley Hoag LLP
                                          155 Seaport Boulevard
                                          Boston, MA 02210
                                          (617) 832-1000
                                          mrodriguez@foleyhoag.com
                                          mmiller@foleyhoag.com
                                          nsmith@foleyhoag.com
                                          mcasassa@foleyhoag.com

                                          Benjamin H. Weissman (application for
                                          admission pro hac vice forthcoming)
                                          Foley Hoag LLP
                                          1301 Avenue of the Americas
                                          New York, NY 10019
                                          (212) 812-0400
                                          bweissman@foleyhoag.com

                                          Attorneys for Plaintiffs

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